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EXHIBIT C

 
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Rebecca Badgley
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1 UNITED STATES DISTRICT COURT

2 DISTRICT OF MASSACHUSETTS

3

4 Civil Action No. 4:19-cv-11093-TSH
5

6 KKK KKK KKK KK KK KKK KKK KKK KE KKKKKKKKKKK

7 PAUL JONES, *

8 Plaintiff, *

9 Vv. *
10 MONTACHUSETTS REGIONAL TRANSIT *

11 AUTHORITY, et al. ca

12 Defendants x

13 KKK KK KKK KKK KKEK KKK KKK KE KKKKKKKKKKK

14

15
16 30 (b) (6) DEPOSITION OF REBECCA BADGLEY:
17 APPEARING REMOTELY FROM
18 Fitchburg, Massachusetts
19 June 22, 2021 9:59 a.m.
20
21 Reported By:
22 Ellen M. Muir
23 APPEARING REMOTELY FROM PLYMOUTH COUNTY,
24 MASSACHUSETTS

 

 

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Page 2 Page 4
1 REMOTE APPEARANCES: 1 REBECCA BADGLEY, Deponent, having first been
2 2 satisfactorily identified and duly swom, deposes and
3 Representing the Plaintiff (pro se): 3 states as follows:
4 PAUL JONES 4
5 572 Park Street 5 EXAMINATION BY MR. JONES:
6 Stoughton, MA 02072 6 Q. Hello, I'm going to go to Exhibit 1
7 617.939.5417 7 first, page 41. Exhibit 1 is 2019 — it's 2018
8 pj2276@gmail.com 8 amendment to the contract, but it takes effect 2019.
9 9 My first question is, what would you like me to call
10 Representing the Defendants: 10 you, Ms. Badgley or Rebecca?
11 KP LAW, P.C. 11 A. Whichever is fine, Paul.
12 101 Arch Street, 12th Floor 12 Q. Okay. Rebecca. Rebecca, does this
13 Boston, MA 02110 13 document look familiar to you?
14 BY: DEBORAH I. ECKER, ESQ. 14 A. Yes, that's the FY19 contract amendment
15 617.556.0007 15 to be effective July 1.
16 decker@k-plaw.com 16 Q. Okay. July 1 of 2018, correct?
17 17 A. Correct.
18 18 Q. Fiscal year 2019 amendments?
19 19 A. Yep.
20 20 Q. Now, is your 2019 amendments, is it —
21 21 has it governed the venders in your brokerage program
22 22 at Montachusetts Regional Transit Agency?
23 23 A. It's an amendment to their original
24 24 contract that was through FY22.
Page 3 Page 5
1 INDEX 1 Q. So this governs them, correct?
2 2 A. _ It's the regulations that are required to
3 WITNESS: REBECCA BADGLEY 3 be followed, yes, sir.
4 4 Q. Okay. All right. Now, you're going to
5 EXAMINATION BY: PAGE: 5 go down to page 41 of this document, which is 2019
6 Mr. Jones 4 6 amendments. Rebecca, can you please read 1A, what's
7 g required for the reporting requirement "A," please?
8 (Exhibits marked off the record) 8 A. “End of month odometer reading on
9 EXHIBIT: DESCRIPTION: PAGE: 9 vehicles used for brokerage contract. Update vehicle
10 I Amendment to complaint & 88 10 inventory with new or deleted vehicles.”
11 Defendant's Responses to 11 Q. Okay. "End of month odometer reading on
12 Plaintiff's Request for 12 vehicles." Can you explain what does that mean?
13 Documents 13 A. The odometer reading would be the number
14 2. Defendant's Answers to Plaintiff's 88 14 of miles on your vehicle's odometer at the end of
15 First Set of Interrogatories & 15 the month.
16 Defendant's Response to Plaintiffs 16 Q. So is it a fact that this is saying that
17 First Request for Admissions 17 for each vehicle the vender would have to produce an
18 3. GMail e-mail, End of Day Report 88 18 end of the month odometer reading for each and every
19 for DMA work, August 19 vehicle?
20 4. Gmail e-mails between Mr. Jones & 88 20 A. Correct. But it's not something that we
21 Rebecca Badgley 21 enacted, Paul.
22 22 Q. Well, just answer the question, please.
23 (Exhibits marked electronically by stenographer) 23 MS. ECKER: She is answering so let her
24 24 finish. Did you have something else, Rebecca?

 

 

 

 

2 (Pages 2 to 5)

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Hl! A. That wasn't the FY19 amendment. But it 1 this document?
2 wasn't something that we ended up enacting and 2 A. "Percentage of fully allocated expenses
3 requesting of the venders. S in service to MART broken down by the following
4 Q. Okay. But, look, this is my deposition 4 categories. See example below: Based off of 40,000
5 I'm asking a question, so basically I just want a 5 monthly invoice."
6 simple answer. If you guys want a deposition, you 6 Q. Can you explain exactly what line "E"
fi guys can schedule one or whatever, so I want to get 7 means, Rebecca?
8 through this quick because it costs me money. So 8 A. It's a percentage of the allocated
9 please just answer the questions. So, again, the end 9 expenses that you have when in service for the MART
10 of the month odometer reading you're stating that 10 brokerage.
il each vender has to give for each vehicle a document oll. Q. So you guys would like a report of this,
12 that states how much the mileage is at the end of the 12 correct?
13 month, correct? aS A. Yes. At the time we put it in that's
14 A. Yes, for the vehicles used on the 14 what we were looking for. As I stated earlier it was
15 brokerage MART. tS never requested or enacted for.
16 Q. Okay. Now, "B" can you please read line 16 Q. So vehicle 1 -- I mean, E-1 can you read
17 "B" for me, please? 17 that line, please?
18 A. "Total vehicle hours, total vehicle hours 18 A. "Vehicle operations, driver salary,
19 that the vehicle was on the road in service to MART 19 dispatch salary and fuel, 32,000, 80 percent."
20 for the month. Example: Time driver leaves the 20 Q. Okay. So this is the example of what the
21 garage to begin brokerage work until break and time 21 requirements would be for 2009, correct, for vehicle
22 back in service till next break or end of day.” 22 operations, driver salaries, dispatcher salaries and
23 Q. Okay. So line "B" basically says every 23 fuel?
24 day the vender and the drivers would have to keep 24 A. Based off your invoicing to MART.
Page 7 Page 9
1 vehicle hours worked, correct? 1 Q. You would want a report for the driver's
2 A. When in service for MART, yes. 2 salary, the dispatcher's salary and the fuel,
3 Q. Yes. Okay. Can you read line "C," 3 correct?
4 please? 4 A. A percentage of those items based off
5 A. "Accident vehicle miles, the odometer 5 your invoice for the month.
6 reading of the vehicle at the time of the accident." 6 Q. Yes. But in the report you would want a
7 Q. Okay. This is required for each vehicle 7 breakdown of the driver's salary, correct?
8 if it gets into an accident, correct? 8 A. What is considered to be vehicle
9 A. For MART work, yes. 9 operations, which includes driver salary, dispatch
10 Q. Yes. Okay. "D" can you please read "D"? 10 salary and fuel.
11 A. "Report dead head miles for wheelchair 11 Q. And you would want a breakdown of a
12 vans or vehicles with a capacity of 14 or more 12 dispatcher salary, correct?
13 passengers, reporting of mileage from start to first 13 A. That's included in the vehicle
14 pickup and from last drop-off to garage at the end of 14 operations. It's not an individual breakdown.
15 the day, unless there is a significant break, then 15 Q. Right. I'm just asking one question at a
16 would mean same after break.” 16 time so we can get everything on the record. You
17 Q. That doesn't apply to Commonwealth 17 would also want a breakdown of the fuel on a monthly
18 Community Recovery Division, the vender here, because 18 basis, correct, used for transporting MART'’s clients?
19 we don't have passenger vans with 14 or more. 19 A. Correct.
20 MR. JONES: Can you scroll down so we can 20 Q. Can you read "E-2, please.
21 see the other, the rest of the document, 21 A. "Vehicle maintenance, oil changes, tires,
22 please, Ellen 22 mechanic salary."
23 THE STENOGRAPHER: Yep. 23 Q. Okay. So, basically, you would want a
24 Q. Rebecca, can you please read line "E" of 24 report, a fee for vehicle maintenance for the oil

 

3 (Pages 6 to 9)

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1 changes for the month, correct? 1 A. No. That were working on the MART
2 A. A percentage, again, of your total 2 contract?
3 invoice related to the MART trips for the month. 3 Q. Yes.
4 Q. So you would want a breakdown, a report 4 A. No,
5 of the oil changes that the vender used for the 5 Q. So you would only want a breakdown of the
6 month, correct? 6 office staff salaries that work with MART, correct?
7 A. That would be what is considered vehicle 7 A. Correct.
8 maintenance. We're not asking you to list individual 8 Q. Okay. Profits. You would also want a
9 oil changes. 3 breakdown of the monthly profits that the vender
10 Q. Okay. Allright. Let's go on to number 10 made, correct?
11 E-3. 11 A. A percentage of your monthly invoice to
12 A. "Nonvehicle maintenance, janitor salary, 12 MART, are all those items are.
13 utility bills, cleaning supplies, etc.” 13 Q. Profit. Let's focus on profit. MART
14 Q. Okay. Can you explain what number 3 14 would want a breakdown of the profit for the monthly
15 means when you say you need a breakdown, a percentage 15 invoice that we received from MART, correct?
16 of what we spent the money on for janitor salary, 16 A. That is one of the items under general
7 because transportation companies don't have janitor 17 administration, yeah.
18 salaries. Can you explain that, please? 18 Q. It's profit, correct?
19 A. You may not but some do. That's an 19 A. Yeah.
20 example of what percentage of your monthly invoice 20 Q. Okay. Administration overhead, can you
21 would go to nonvehicle maintenance. 21 give me a definition of administration overhead?
22 Q. Nonvehicle maintenance. So are you 22 A. Your costs.
23 saying janitor salary for office? 23 Q. For?
24 A. Yes, the facilities. 24 A. Torun your office, your administration.
Page 11 Page 13
1 Q. Okay. For the facilities? 1 Q. Okay. Can you make that a little
2 A. Uh-huh, 2 clearer; I need a breakdown of what administration
3 Q. Okay. Utility bills, the breakdown for 3 overhead cost includes and means, for the record?
4 utility bills you guys are asking for and that is 4 A. Well, I'm not a hundred percent sure how
5 also for the facilities, correct? 5 you run your business but that could be different --
6 A. Correct. Your nonvehicle maintenance. 6 could be even different supplies for your office.
7 Q. Okay. And the cleaning supplies, is that i Q. It could be what?
8 for nonvehicle maintenance as well? 8 A. It could be different supplies for your
9 A. Correct. 9 office.
10 Q. Okay. Can you please read E-4, general 10 Q. Such as?
11 admissions — administration. 11 A. Anything, paper, pens.
12 A. "General administration, office staff, 12 Q. Papers, pens?
13 salaries, profit, admin, overhead. 13 A. Could be anything.
14 Q. So I'm trying to get an understanding of 14 Q. Office supplies?
15 what D-4, general admissions. Can you please give me 15 A. Yes.
16 an understanding of when you guys say "office staff 16 Q. Okay. Let's go to line "F," fuel costs.
7 salaries," what is MART looking for in this E-4? 17 Can you please read that line and tell me exactly...
18 A. Again, those particular items are just a 18 A, "Fuel costs, total cost of fuel for the
19 percentage of your monthly invoice to MART for MART 19 month."
20 services. 20 Q. Would you please tell me exactly for the
21 Q. So office staff salary. As you know we 21 record what does that line mean?
22 had a couple — well, you probably don't know but we 22 A. Again, it would be for your monthly
23 had a couple of staff that wasn't with MART; would 23 invoices to MART, the total cost of the fuel.
24 that be included? 24 Q. Soam] correct you're saying that you

 

4 (Pages 10 to 13)

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1 want a monthly report that breaks down the total fuel 1 the witness, I just want to make sure she's
2 costs that we use under the MART contract? 2 prepared.
3 A. Correct. 3 MS. ECKER: Okay.
4 Q. Okay. 4 Q. You've been there 32 years. What is your
5 MR. JONES: Ellen, can we go to the next =) job description at MART, Montachusetts Regional
6 page? 6 Transportation, brokerage?
7 Q. Can you please, Rebecca, read line G, 7 A. I'm the director of the brokerage
8 "gallons of fuel." 8 operation. I oversee the contract that we have with
9 A. “Gallons of fuel, total number of gallons 9 the State of Massachusetts --
10 of fuel purchased." 10 Q. Okay.
11 Q. So each month — I just want to make it 11 A. -- for human service transportation?
12 clear for the record. Each month MART wants a 12 Q. Are there anyone in the room with you
13 breakdown of the gallons of fuel purchased through 13 right now, Rebecca?
14 work done for MART, correct? 14 A. No, there is not.
15 A. Correct. 15 Q. Okay. So it is safe to say that you
16 Q. Okay. Can you please read "H"? 16 oversee the department that makes all the phone
17 A. "Miles per gallon average, number of 17 calls, the call center?
18 miles that a vehicle travels on one gallon of fuel 18 A. I oversee all aspects of the brokerage,
19 for each vehicle used for brokerage contract." 19 so, yes, that includes call centers, scheduling.
20 Q. Okay. So line "H," "miles per gallon" am 20 Q. Okay. I'm pretty sure -- did you get a
21 I correct by saying that MART wants a monthly 21 chance to see the complaint that I filed in federal
22 breakdown of the number of miles for travel while 22 court?
23 working for MART on one gallon of fuel report each 23 A. Yes.
24 month, correct? 24 Q. Okay. Did you — do you oversee all of
Page 15 Page 17
1 A. Yes. For each vehicle used under the 1 the defendants on the complaint, such as Michelle
2 contract, that is what was in the amendment. 2 Morio, Stephanie -- all of the people in the
3 Q. Okay. So Jet's just back up a little 3 complaint, do you oversee them?
4 bit. Can you state your full name for the record? 4 A. lam not their director manager, but I
5 A. Rebecca Badgley. =) oversee them as a whole, yes.
6 Q. And what is your position at MART? 6 Q. Okay. All right. Now, we can get back
7 A. Iam the director of the brokerage. 7 to the exhibit, Exhibit 1. Can you scroll down to --
8 Q. Okay. How Jong have you worked there? 8 MR. JONES: Ellen, can you scroll down to
9 A. I've worked at MART for 32 years. 9 the interrogatories, that end of the document.
10 Q. For 32 years. Did you -- did you -- oh, 10 I don't know what page it's on.
11 does it require you to have any degrees, college or 11 THE STENOGRAPHER: Hold on.
12 courses or anything? 12 MS. ECKER: I'm trying to understand what
13 A. At the time that I was hired, no, it did 13 your Exhibit 1 is.
14 not. 14 MR. JONES: This is my deposition. I'm
15 MS. ECKER: Can J just ask that we stop 15 asking the questions here. But if -- I'll
16 screen sharing so I can sce all -- 16 explain the document to you. Just, if you have
17 MR. JONES: Excuse me? 17 a question, just get to the point. This
18 MS. ECKER: Can you stop screen sharing 18 document is Exhibit ]. It is 2019, again
19 so I can see you and the witness if you're not 19 amendments, the interrogatories and the
20 going to use the exhibit? 20 adimissions. Okay.
21 MR. JONES: No, we're going to go back 21 MS. ECKER: Okay. How many pages is it?
22 to, I mean, the exhibit. I just want to, you 22 MR. JONES: Excuse me?
23 know, I did not ask her some questions 23 MS. ECKER: How many pages is it?
24 regarding her job and, you know, because she is 24 MR. JONES: It's 56 pages. Sce at the

 

 

 

5 (Pages 14 to 17)

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Lt top it says 56. No, it's -- if you can scroll i MS. ECKER: 1] don't have any questions
2 down -- is that the last page, Ellen? 2 for Exhibit 1. We can take a break but don't
Bi THE STENOGRAPHER: Yes, that's the last 3 do it just to answer my questions. I just what
4 page. 4 to know what the exhibit is.
5 MR. JONES: It's 56 pages. Does that 5 MR. JONES: I would like to take a break
6 answer your question? 6 so ] can get my Exhibit 2 together, so I can
7 MS. ECKER: No, but I'm assuming it's a put together everything that I need. So let's
8 going to be an official document so I'll know 8 get back on the record in 15 minutes. Is that
9 when I get a copy of it, so that's fine. Go 9 fine with you, Ellen, Rebecca, Ms. Ecker?
10 ahead. 10 MS. ECKER: That's fine with me. We'll
li MR. JONES: So I answered your question, 11 be back at 10:45.
12 correct? 12 MR. JONES: Okay.
13 MS. ECKER: You didn't because -- and 13
14 this isn't your fault. It's difficult on a 14 (Five-minute break was taken)
15 Zoom deposition, but it looks to me as if 15
16 you've combined some documents together, so I'm 16 MR. JONES: We're going to stay on
17 just trying to understand what's contained in 17 Exhibit ] for a few more minutes just -- okay.
18 your Exhibit 1 so I know if it's complete, if 18 Q. Rebecca, I have a question regarding
19 it's not, so | have a copy. So not a big deal. 19 reporting. We're going to stay on this reporting.
20 At the end of the deposition I am sure the 20 Can you explain to me what end-of-day reporting that
21 stenographer will provide me a copy. 21 was requested from MART, the definition of it and
22 MR. JONES: Yeah, if you pay. 22 meaning of it?
23 MS. ECKER: Either way I get a copy of 23 A. What section are you referring to, Paul?
24 the exhibits. But | will pay the stenographer. 24 Q. 1'm referring to the end of the day
Page 19 Page 21
il T always do. 1 report.
2 Q. Let's go to the interrogatories, 2 A. The end-of-day report would be your
3 MR. JONES: And for the record, all of 3 end-of-day report when you download your schedules
4 these documents were requested and sent from 4 for the next day.
5 you. 5 Q. Okay. Does it -- is it fair to say the
6 MS. ECKER: Well, | don't know that, 6 end of the day reports all of the trips the drivers
7 that's the problem with not having this all 7 and the venders went on -- the venders completed for
8 mixed and matched. So I'll take your word for 8 the day?
9 it, but I don't know what is in this document, 9 A. No. When we reference the
10 1s my point. 10 end-of-day report --
11 MR. JONES: Okay. 11 Q. Yeah.
12 MS. ECKER: But I'll take your word for 12 A. -- in those additional provider
13 it. 13 pertormance standards, we're referring to what would
14 MR. JONES: We've already been down that 14 be CCRD or whomever the vender is; when you download
15 road. I told you and I'm telling you that 15 your trips for the next day at the end of the day,
16 these are the documents that when I propounded 16 that's your end-of-day report.
17 my first set of discovery request from you. 17 Q. So does the end of the day report
18 MS. ECKER: Okay. 18 consistent of all the trips that the vender performed
19 MR. JONES: Ellen, if you can scroll up a 19 for the day?
20 bit, so the admissions. Can we take a 20 A. lt would be all of the trips that are
21 15-minute break so I can sct up my other 21 assigned to you for the next day.
22 Exhibit 2 to go through it so I can answer all 22 Q. So basic it's just, to me, the schedule?
23 of Attorney Eckcr's questions that she had for 23 A. We don't ask you to submit end-of-day
24 Exhibit 1? 24 reports to us.

 

 

 

6 (Pages 18 to 21)

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1 Q. Okay. Ihave — 1 Q. Okay. So for the record, 20th of July
2 MR. JONES: Ellen, | haven an e-mail that 2 that's when the end of the reports request for each
3 I would fike to submit to you, and J need you 3 vender started, correct?
4 to mark it as Exhibit 3. What is procedure? 4 A. Correct.
5 How do I do that? 5 Q. Okay.
6 (Discussion between stenographer and 6 MR. JONES: So I'm going to stop sharing
7 Mr. Jones) 7 that document. Did it stop sharing, Ellen?
8 8 THE STENOGRAPHER: Yes.
9 MR. JONES: Okay. Do you see this? It 9 MR. JONES: Okay.
10 says, "Gmail end of the day report for DMA, 10 Q. Allright. We're going to go back to ~
11 work August," Ellen? il MR. JONES: Can we share, go back to
12 THE STENOGRAPHER: Yeah. End of day 12 Exhibit 1.
13 report 1, the one that's highlighted? 13 Q. Rebecca, can you please. For the record,
14 MR. JONES: Yeah. 14 give me a description of your audit -- procedure for
15 THE STENOGRAPHER: Yep, it's there. 15 auditing a vender for, you know, audits, you know, do
16 Q. Okay. Rebecca, can you — this is an 16 they inspect -- do you have an inspector that does
17 e-mail that I received from Richard, Stephens (sic). 17 it; can you explain?
18 Can you just read the names that are on the e-mail 18 A. Yes. We have a team of inspectors who
19 that's highlighted right there? 19 perform the annual back audit for venders. The audit
20 A. Stephanie Richards. And it's cc'd to DMA 20 is performed at the venders site and it’s a review of
21 Contract. 21 all the contractual requirements to ensure that the
22 Q. Okay. What is the date? 22 annua] retrainings have been done for all the
23 A. The date is July 28, 2020. 23 drivers, staff and that they have all the training
24 Q. Okay. Can you please read the part that 24 that's required; and that you're meeting all of these
Page 23 Page 25
1 I just highlighted. It starts with a good morning? 1 specifications that are within the contract.
2 A. "Good morning. Just a quick note, and 2 Q. Okay. Do you guys ever require -- is
3 thank you to all who have been submitting their 3 that the only requirements?
4 report as requested. The end of the day report 4 A. I'm sorry?
5 should be received via e-mail prior to 8 a.m. the =) Q. Is that the only way MART perform audits,
6 following business day. MART needs to send an update 6 is through the inspector?
7 to HST by 9 a.m. the following day of transport, so 7 A. Yes, as a general rule.
8 for today 7/28/2020. Please make sure you send by 8 8 Q. That's the general rule?
9 a.m. on Wednesday, 7/29." 9 A. Yes.
10 Q.  Isn'tit a fact that this e-mail states 10 Q. And how many times a year is that
11 that the end of the day report is requested every day il required?
12 at 8 a.m. the following business day? 12 A. When a vender first onboards, we do an
13 A. That's correct. That was the additional 13 onboarding audit before they're assigned work. And
14 request that was not part of the FY19 amendment that 14 then it's done annually thereafter. And sometimes
15 we were going over, that was in regards to COVID 15 additional follow-up is required and we have to go
16 reporting. 16 back out and double check things that maybe weren't
17 Q. Okay. Do you know when this started, the 17 present at the time we went out initially.
18 end of the day report request started approximately? 18 Q. Okay. If you guys see, to look to my
19 A. Give me one second and 1 can verify that. 19 left, I have another computer over here that I'm
20 Q. Yes. 20 working on that have the exhibits up. So for the
21 MR. JONES: Ellen, can you mark this as 21 record, once a year and before the vender starts, the
22 Exhibit 3. 22 auditor — a team of auditors come out and audit the
23 A. I believe the initia] request came in 23 company at the facility, correct?
24 around the 20th of July from HST. 24 A. Correct.

 

7 (Pages 22 to 25)

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1 Q. Do you have any in-house people that do 1 facility and they go through a vender portal
2 audits, anybody at the brokerage department that 2 training, which is where it's described how they will
3 stays, you know, that will perform an audit there? 3 accept the work that’s being offered to them, how the
4 A. We have some that have those capabilities 4 billing will be done, how you file and respond to
5 but it's generally the inspector that is going out to 5 complaints.
6 do those audits. 6 Q. Okay. During this vender portal
7 Q. Sounder the contract and the contract 7 training, do you have screens and computers for the
8 amendments, audits are for the job of the auditor, 8 venders to look at, for an example, of how a vender
9 the inspectors, correct? 9 portal looks tike?
10 A. Correct. 10 A. Yes.
11 Q. Okay. And is that a rule, right, under 11 Q. Okay. Is that a requirement?
12 the regulations? 12 A. What, that we have a screen?
13 A. It's required that we do annual debt 13 Q. That you have a computer simulator that
14 audits at the venders facility. We do have in-house 14 shows your vender portal during training?
15 staff -- not sure what you're referring but we do 15 A. It's nota requirement. The vender
16 have in-house staff, compliant staff that as venders 16 portal training is not a requirement. It's a
17 are onboarding new drivers or new vehicles, that may 17 courtesy that we do with the venders so that they
18 not be seen in audit. They will review and make sure 18 understand how the systems work and can accept their
19 that that individual has all the requirements. 19 jobs and respond to claims. There's no specific {
20 Q. Is that only at the beginning or — 20 Tequirement within the contract; that's generally
21 A. Throughout the -- 21 done before you start accepting work.
22 Q. Beginning of — 22 Q. Okay. Isn't it a fact that the vender
23 A. That's through the life of the contract 23 reporting requirements are in your contract and {
24 if you're adding individuals to the contract. 24 amendments that state that you would have to, through
Page 27 Page 29 |
al Q. Okay. Is that — do you know if that's 1 the vender portal, require -- through the vender
2 in your contract in amendments? 2 porta] — training before you can get any rides?
3 A. It's in the contract that you're required 3 A. I don't believe it's stated within the
4 to update your vehicle and driver lot that changes 4 contract itself. But when a new vender comes
5 are made and that all of those trainings and 5 onboard, we actually go through their application
6 requirements are required prior to putting them in 6 first, that's the first step; once the application is
il service with the consumers. 7 approved, we send out the contract. Once the
8 Q. Is the audit requirement and the contract 8 contract is back and signed, we send out for the
9 and amendments? 9 initial audit at the vender facility. And then if
10 A. Yes, it's in the transportation provider 10 everything is complete, then we have the vender come
11 performance. 11 in for a vender portal training prior to being
12 Q. Okay. In the Transportation provider 12 assigned work.
13 performance contract amendment does it state that the 13 Q. Okay. What is the procedure for a vender
14 inspector only does the audits? 14 to drop a client? Can a vender just drop a client as
15 A. No, | don't believe it does. It just 15 far as if he doesn't want to transport this client
16 refers to the annual debt audits and inspections. It 16 anymore or does he have to seek MART's approval?
17 doesn't classify who's performing them. 17 A. If there's a particular individual that
18 Q. Okay. Next question is regarding 18 you no longer want to transport, you can notify us
19 training. Can you tell me — vender training at your 19 and we'll remove them from being offered to you in
20 facility. Can you tell me the procedure of vender 20 the future.
21 training on the vender portal at your facility, 21 Q. Do the venders have to get permission
22 please? 22 from MART before they drop them?
23 A. When anew vender onbouards, before 23 A. No.
24 they're assigned work, we have them come to our 24 Q. So the vender has the power to drop any

 

 

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1 client that they want without MART's approval? 1 MART have the authority to remove a vender or a
2 A. Are you referring to cancelling a trip 2 driver from performing any trips with MART, yes or
3 that you've expected or just no longer continuing to 3 no?
4 transport an individual? 4 A. Yes.
5 Q. The question is, can the vender no 5 Q. Okay. The next question is on the
6 longer -- choose to no longer transport a client 6 capacity tab from the vender portal. Can you
7 without MART's authorization? 7 explain for the record what is the capacity tab and
8 A. If you already have them for a scheduled 8 what it does?
9 tripped, you would have to inform us. You don't 9 A. So the capacity tab on the vender portal
10 require our authorization. 10 would be the amount of work that the vender is able
11 Q. Okay. Again, I'm trying to narrow this. 11 to perform throughout the course of the day.
12 The vender has a client. There's a problem. Can the 12 Q. Do the vender have the capability to
13 vender drop the client for the next future trips 13 change the capacity tab to reflect how much work he
14 without consulting with MART? 14 would like?
15 A. MART has to be notified so that the 15 A. They did early on but that was locked
16 individual's trips are rescheduled. 16 from being changed about two years ago, I think.
17 Q. Okay. Can the vender drop the client 17 Q. So two years ago the capacity tab was no
18 without MART's authorization, yes or no? 18 longer available to venders to change?
19 MS. ECKER: Objection. She's answered 19 A. Correct.
20 this question. 20 Q. Did you notify venders of this change?
21 MR. JONES: No, she hasn't. 21 A. We notified venders that we were going
22 MS. ECKER: Well, she has. But she can 22 through capacity and that we would be making
23 answer it again. Ze adjustments here.
24 A. We don't have to give you authorization, 24 Q. So you notified venders that they would
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il Paul, but we have to be notified. 1 no longer be able to control the capacity tab,
2 Q. Okay. Now we're getting somewhere. So 2 correct?
3 MART — what you're saying is MART does not have to 3 A. Correct.
4 give the vender authorization to drop a client, 4 Q. And when did you say this happened?
3 correct? 5 A. It was a couple of years ago, two years
6 A. Correct. 6 ago.
7 Q. Now, Ihave a question. The next 7 Q. Have you ever received e-mails from me
8 question, does MART have the authority to hire and 8 inquiring about this specific thing, why I couldn't
3 fire any of the vender's employees? 9 change my capacity tab?
10 A. Weare not the hiring or the firing 10 A. Honestly, off the top of my head, I
11 authority. But by contract, we have the right to 11 received several e-mails from you over time Paul; but
12 request removal from an individual working on our 12 I don't know if that were related to the capacity.
13 contract. 13 Q. Okay. You state that all venders was
14 Q. So are you saying that MART has the right 14 notified of this, correct, that the capacity — that
15 to remove a driver from the contract? 15 they couldn't change their capacity tab any longer?
16 A. From working on the MART contract, yes. 16 A. We sent notices out to venders that we
17 It is in their contract that MART and/or E-O-H-H-S. 17 were going to be adjusting the capacity, based off
18 Q. Well, MART is — 18 the fleet side.
19 A. Can fire or removal. 19 Q. So would you — would it be a fair to say
20 Q. So MART or E-H-S-S — what was that, 20 that MART controlled the amount of work that a vender
21 E-S-H-S? 21 would request in his capacity tab?
22 A. E-O-H-H-S, the Executive Office of Health 22 A. Yes, we did control that based on the
23 and Human Services. 23 size of the venders fleet.
24 Q. Okay. But my specific question is, does 24 Q. see. So what would be the procedure if

 

 

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1 I wanted to change my capacity tab after the changes 1 it doesn't include today's work or work for tomorrow.
2 wenf through that only MART could control the 2 Q. | understand that.
a capacity tab? 3 A, Yes.
4 A. You could e-mail the contracts department 4 Q. Now -—so can you explain to me are you
5 and request that they be adjusted. 5 familiar with the employees that MART instructed me
6 Q. So is it fair to say once that — I'm 6 to no longer let them work with MART clients?
7 sorry. Are you finished? 7 A. We keep a list here, yes.
8 A. Yes, 8 Q. You say you keep a list?
9 Q. Is it fair to say once a vender e-mail 9 A. If we removed somebody from working on
10 the proper department, his capacity tab would be 10 the contract, we keep that information here, yes. Do
11 changed only if MART thought his fleet size could 11 1 know off the top of my head, no.
12 handle the change? 12 Q. Okay. So is it fair to say if MART had
13 A. Correct. 13 me remove an individual, a driver, that that
14 Q. So, basically, MART controlled the work 14 individual couldn't drive for a number of years
15 based on the fleet size? 15 contracting with MART?
16 A. Correct. 16 A. Ifan individual has been permanently
17 Q. So MART could control each venders 17 removed from working on the MART contract, yes. If
18 capacity of work given to them based on how many 18 they were to work for another vender, we would not
19 vehicles they had on the road? 19 let them come onboard.
20 A. Anumber of vehicles and the size of the 20 Q. So it's a fact that you're telling me
21 vehicles, yes. 21 that if MART removed one of my drivers, CCRD drivers,
22 Q. Basically, MART controlled the work that 22 Commonwealth, the vender, that driver couldn't go
23 a vender could receive? 23 work for another vender, correct?
24 A. The amount that would be offered, yes. 24 A, It would depend on the actual removal.
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1 Q. So MART control the amount of work that 1 At times we remove drivers pending a retraining or
2 could be offered to a vender? 2 pending investigation, things of that nature; but if
3 A. Correct. 3 i's a permanent removal from working on the MART
4 Q. Okay. Sorry, I just got to look at my 4 contract, then they would not be able to go work for
5 computer because I got everything written down. 2S another.
6 Okay. Now, on the vender portal, how far out can a 6 Q. Question. Answers. So MART has the
7 vender go to accept work, one day, two days, a week, 7 power to hire -- I mean, to fire, disengage our
8 two weeks? 8 employees, drivers, correct?
9 A. On the vender protal, work is assigned 9 A. No.
10 near the low cost assignment and, initially, work was 10 Q. Does MART have the authority to fire the
11 being offered seven days out in advance. We 11 employees that drive MART's clients?
12 increased that to 14 days in advance. 12 A. No, we are not the hiring agency or the
13 Q. Okay. So have you ever increased it to 13 firing agency. We have the right to remove them from
14 30? 14 working on our contract.
15 A. No. 15 Q. What is the definition of removal, with
16 Q. So the limit is a vender can go out 14 16 removing or working on your contract; what's that
17 days to create a schedule for itself, correct? 17 definition?
18 A. The vender can go out 14 days to see if 18 A. It means that they can't transport the
19 there's work being offered to him based off the 19 clients that are being assigned to the company by
20 business. And that's three days out. It doesn't 20 MART.
21 include same day trip or next day trip. 21 Q. Any longer, correct?
22 Q. What's three days out? 22 A. Correct,
23 A. The vender portal, Trip assignment is 23 Q. So that's firing, correct?
24 three days out. It doesn't include -- for example, 24 A. No. We're removing them from our

 

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1 contract. If the vender only works for MART and has 1 A. The requirements are clearly listed
2 no other work to give them, and that's the ultimate 2 within the contract. There's a certain -- just like
5 thing that happens, that's not us doing that. We're 3 all of our venders, the drivers are required
4 not the hiring or the firing agency. We're just 4 drivers -- drivers and/or monitors are required to
3 the -- 5 have certain training. There's vehicle age
6 Q. So, basically, are you firing them from 6 requirements for that program, different insurances
7 transporting MART's clients? 7 for that program based off the size of the vehicle.
8 A. We're removing them from transporting our 8 The program-based transportation was actually put out
9 clientele. 9 on an RFR ona five-year bid. So routes were
10 Q. What is the definition of removing in the 10 assigned to venders. They stopped the response to
11 context of this thing? 11 that RFR, and there's generally not new work going
12 A. It's labelled within your contract that 12 out for that program on a regular basis.
13 we have the right to remove them from working on 13 Q. Okay. Can you tell me the requirements
14 transporting our consumers. 14 of the wait time for a driver, MART requirements for
15 Q. Rebecca, please answer the question. 15 a wait time for a driver when he's picking up a
16 MS. ECKER: She has answered the 16 client from home t 0 go to an appointment?
17 question. That's four times now. You can 17 A. The contract states they're required to
18 ask it one more time. 18 wait five minutes past the pickup time and then
19 MR. JONES: I'm not here to fight. This 19 you're supposed to contact your dispatcher, attempt
20 is a deposition; I would like the question 20 to reach the client; and if there's no response, you
21 answered, 21 can continue on.
22 MS. ECKER: And she has answered it. But 22 Q. So MART --is it fair to say MART
23 go ahead. 23 requires the driver to wait five minutes past the
24 MR. JONES: No, she didn't answer. 24 time?
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1 MS. ECKER: She didn't answer it the way 1 A. As the schedule pickup time and then the
2 you wanted it answered, that's different. But 2 attempt to contact the client.
3 go ahead. 3 Q. Okay. Can you tell me how you're fine
4 Q. J want to know the definition of removal. 4 system works when you fine a vender for a no show.
5 A. Taking the individual away from 5 A. If there is a vender no show, it's
6 transporting our consumers. 6 actually recorded in the complaint.
7 Q. That's it. There you go. Okay. Can you 7 Q. So, basically, J just want to touch on
8 please tell me how your D-S-S program works regarding 8 ways that a vender can get fined. So the first
9 venders? 9 question is, if a client reports that a vender was a
10 A. Our, what, program? 10 no show and the vender actually showed up and the
11 Q. D-S-S? 11 vender informed MART that he showed up, would MART
12 A. Idon't have a DSS program. 12 fine the vender and require the vender to submit
13 Q. D-D-S? 13 proof that he actually showed up?
14 A. DDS? 14 A. Ifaclient calls and says that a
15 Q. Yeah. 15 vender's a no show, you know, depending on what the
16 A. Okay. 16 sequence that that happened, if it's five minutes
17 Q. What does D-D-S stand for? 17 around the pickup time, it depends on when we get a
18 A. Department of Developmental Services. 18 call, that a complaint will get filed. The vender
19 Q. Now, you have a transporting program for 19 will have an opportunity to respond to that
20 their clients, correct? 20 complaint. And somctimes we do ask for additional
21 A. Correct. 21 proof, GPS records, things of that nature.
22 Q. How does that program work, as far as 22 Q. So you ask for proof from the driver and
23 venders transporting the clients, what is the 23 the vender of GPS that shows that he was there?
24 requirements of the vender? 24 A. Correct.

 

 

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1 Q. In order not to get fined? 1 has to produce a time stamp picture in order to avoid
2 A. Correct. 2 a fine for a no show when a client makes a report?
8 Q. So if the vender or the driver can't 3 A. Again, I don't think it specifies any
4 produce pictures that he was there, is that a — will 4 time stamped picture.
5 he get fined? 5 Q. You say you don't think. That means
6 A. [fin the end the consumer reported the 6 you're not sure, correct?
7 vender a no show and did not make their appointment, U) A. Correct. I don't have any amendment in
8 and the vender doesn't have anything additional to 8 front of me.
9 support the fact that they were there, they could 9 Q. Okay. Allright. One second. I'm just
10 receive a fine, yes. 10 looking on my computer for the next questions.
ll Q. So is it fair to say if the vender 11 MS. ECKER: Can we just stop the screen
12 doesn't have proof through GPS that he was there, 12 sharing if possible?
13 they -- 13 MR. JONES: What's the problem?
14 A. Could provide a GPS record. They could 14 MS. ECKER: When you screen share, if the
15 provide a time stamp photograph. They could provide 15 exhibit's still up, I can't see everybody
16 confirmation that somebody else that may have been in 16 talking. So if you're not going to use the
17 the vehicle at the time. 17 exhibit, I would appreciate it if we're not
18 Q. Is this a requirement in the amendments 18 screen sharing.
19 or the contract? 19 MR. JONES: But I might use it because
20 A. Well, you're supposed to provide on-time 20 I'm going through my questions and then | can
21 service, and we're following up to a complaint. 21 reference the part to you.
22 Q. Is proof of GPS or time stamp picture in 22 MS, ECKER: Okay.
23 the contract or the amendments? 23 Q. Okay. The next question is regarding
24 A. I'mnota hundred percent sure. I know 24 next day offers through your IV system — IVR system.
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1 it is in current. I don't know what you're referring 1 How does that work?
2 to or... 2 A. Then the next day offers through the IVR?
3 Q. Any year. Any contract or amendments, is 3 Q. Yes, the next day offers?
4 that in there where a vender has te show proof by GPS 4 A. Okay. So the next day are being
5 or time stamp picture in order to avoid a fine for a 5 handicd -- they start off being handled by our IVR
6 no show to a client? 6 system, which is a callout system, which starts at
7 A. Again, I'm honestly not a hundred percent 7 6:30 in the morning. It works very similar to the
8 sure how it's worded in there or if it specifies 8 vender portal as far as low cost assignment; but it's
9 those particular items. 9 actually physically calling the vender.
10 Q. Okay. Well, I'm not talking about the 10 Q. Okay.
11 wording, Basically, we want to — I'm talking about 11 A. And it will call the vender up to three
12 proof. I understand, you know, you're not a -- you 12 times. They have an opportunity to decline doing it
13 don't remember how the wording is for contracts, but 13 right then if they don't - if they're in the middle
14 I'm trying to just nail it down. If in your 14 of something, it will call them up to three times
15 amendments or the contract, cither year, is that 15 before it moves on. And the system reads the trip
16 requirement in there that a vender or a driver has to 16 information to the vender, and they have the ability
17 produce the GPS verification in order to avoid a 17 to accept or decline the clicnt tnp being offered.
18 fine? 18 Q. What was the procedure to stop the
19 A. 1] don't think that it specifies a GPS 19 callout system from calling venders and drivers?
20 verification in order to avoid a fine. 20 A. You would have to notify the contract
21 Q. Okay. 21 department.
2 A. It's a follow-up to a customer complaint. 22 Q. Can you go in and just mark your portal
23 Q. Okay. Does your contract or any 23 full?
24 amendment, any years state that a vender or a driver 24 A. If you mark your portal full for the day,

 

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1 yeah, it would stop calling. 1 Q. Okay. Does MART follow the state
2 Q. It would stop calling? 2 requirements or they require more?
3 A. Yes. 3 A. At one point it was the state minimum for
4 Q. Would it stop offering you work also 4 the MassHealth Demand Response as a higher level for
5 through the vender portal? 5 the program base. But that insurance requirement was
6 A. The vender portal wouldn't be processing 6 changed a couple of years ago where we required more.
i any work for the next day. The vender portal is 7 Q. Okay. So is it safe to say that MART
8 three days, same day and next day is going -- same 8 requires more insurance requirements than the state
9 day is going out by the live scheduling agent. And 9 requirements as of 2020?
10 the next day is going out by the [VR callout as well 10 A. Than the state minimum, yes, absolutely.
11 as live scheduling. 11 Q. Okay. Does MART require more insurance
12 Q. But my question is, if a vender or driver 12 coverage than the state requires for 2019?
13 marks his portal full to avoid the phone calls coming 13 A. I believe, yes.
14 in, will that also trigger the vender portal from 14 Q. Does MART require — strike that.
15 offering any work, next day, week out, 14 days out? 15 Did MART require more insurance coverage
16 A. No. Ifa company marks themselves as 16 than the state required for 2018?
17 full for a particular day, it will stop offering work 17 A. I'm honestly not a hundred percent sure.
18 for that particular day. 18 I don't remember which contract we increased that in.
19 Q. Okay. Thank you. Commonwealth Community 19 Q. Is ita fact that when a vender accepts a
20 Recovery Division, I'm just going to call them CCD — 20 trip from MART for a specific time, MART doesn't
21 CCRD for short, okay, for the record. We had some 21 change the time unless you ask the vender, who rather
22 problems in the past with work being placed in our 22 than -- if you don't understand the question, I'l!
23 portals. Do you recall that? 23 rephrase it.
24 A. Yes, I do remember that there were a 24 A. Please rephrase it because I'm not a
Page 47 Page 49
1 couple of incidents, yes. 1 hundred percent sure.
2 Q. Yes. 2 Q. Okay. Is it a fact that once a vender
3 A. I don't recall specifics. 3 accepts a trip from MART for a specific pickup time,
4 Q. Right. But you do recall that we had 4 like 8 a.m., does MART have to get authorization from
=) unauthorized work that we didn't accept put into your 5 the vender to say if they wanted to change the pickup
6 portal, correct? 6 to 5:30 a.m.?
7 A. lremember you having complaint as such, 7 A. They would -- normally, any changes that
8 yes. 8 made highlight to the venders through the vender
9 Q. Okay. Do you ever remember when MART 9 portal in a different color; so it would really
10 corrected it and acknowledged that we didn't accept 10 depend on how far out that trip is. If the trip is
11 the work? 11 for the next day, or same say, they will call the
12 A. | know that there was a group that I it vender.
13 researched for you, and there were -- they had been 13 Q. So MART has to — so is it safe to say
14 accepted by your IP as your log-in. 14 that MART has the authority to change the pickup time
15 Q. So the question again, do you recall any 15 or the return time without the vender's
16 work that after research you found that we did not 16 acknowledgment?
17 accept that was putting out? 17 A. Only for advanced trips.
18 A. I don't recall, no. 18 Q. So is it a fact that MART can change the
19 Q. Okay. I have a question on insurance 19 times without authorization of the vender?
20 policy fer venders working with MART. What is the 20 A. Yeah, in advance you have the ability to
21 requirements of Massachusetts, not MART, 21 see that change and notify that you can no longer
22 requirements; is it 20, slash, 40? 22 accommodate. If it happens for the next day or same
23 A. Based off the vehicle size, yes, those 23 day, they would call you immediately.
24 are the state requirements, 24 Q. So, basically, I'm trying to get an

 

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1 answer here. Does MART have the authority to change 1 Q._ So if it's 7 or 14 days out, you don't
2 the pickup time or the drop-off time that the vender 2 call the vender?
3 agreed to do, whether it's a day or two or a weck or 3 A. No, because you will see the change in
4 two wecks out, do they have the authority to change 4 the portal for that trip. And if you can't
5 the schedule of the vender without authorization from 5 accommodate that change, you have the nght to turn
6 the vender, yes or no? 6 it back.
7 A. It's not a matter of authority. It would 7 Q. Okay. Without -- if we turn it back,
8 be a consumer calling and changing their time. 8 will we receive a fine?
9 Q. Once the consumer calls and change the 9 A. Ifthere was a change made to it? No.
10 time, does MART have the authority to change the time 10 Q. Yes.
11 without seeing if the vender is available? 11 MR. JONES: Okay. It's 11:41. Can we
12 A. I think J answered that. That's posed to 12 take a break to -- lunch break till about 12 --
13 you, if it's in advance and if you can't accommodate, 13 what would be the proper time, Ellen, or
14 you can decline it. If it's same day or next day, 14 Attorney Ecker?
15 they will call you and see if you can accommodate the 15 MS. ECKER: How much longer do you think
16 change that was made by the customer. 16 you have, Mr. Jones?
17 Q. The issue I'm trying to get at is not if 17 MR. JONES: Ihave no idea. I'm going
18 it's a day or the two days or 7 days or 14 days out. 18 through my list.
19 Does MART have the authority to change a vender's 19 MR. ECKER: Well, are we talking the
20 schedule? 20 entire aftemoon. I'm just trying to get a
21 MS. ECKER: Objection. Asked and 21 sense of...
22 answered. You can answer again. 22 MR. JONES: I have no idea. I have a
23 A. We're not changing the vender schedule. 23 list. I'm about halfway through it, so if we
24 We'e changing the customer's schedule. And the 24 can just keep moving things along. We should
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1 protocol would be you would see the change in the il be out of here in a few hours. How long do you
2 vender portal in a different color, if it was 2 guys need for a lunch break?
3 advanced tnp, signalling to you that there has been 3 MS. ECKER: I don't need one. low about
4 a change. If you can't accommodate that change, you 4 if we do 12:15 -- we'll be back at 12:15, if
5 let us know and we reassign the trip. If the change 5 that's all right with the stenographer? I can
6 happens the same day or the next day, they will call 6 go through.
7 and ask the vender if he is able to accommodate the 7 MR. JONES: Let's take a break until
8 change. 8 12:15. Okay?
9 Q. Okay. Can you please do me a favor and 3 MS. ECKER: Yes.
10 just answer the question; and if you don't understand 10 MR. JONES: Thank you.
11 the question, ask me to rephrase it or -- because -- 11
12 A. [understand your question, Mr. Jones. 12 (Break at 11:43 p.m.)
13 But my response is not going to change, because it's 13 (Back on at 12:17 p.m.)
14 not that we have the authority; we are changing the 14
15 trip based off the customer's request. If the trip 15 Q. I would like to share a document that I
16 is already assigned to a vender in the same day or 16 would like to mark for exhibit --
17 next day, we immediately call the vender to see ifhe 17 MR. JONES: We already did Exhibit 3,
18 can mect those accommodations. If it is in advance. 18 Ellen, correct?
19 you'll see the change in a different color in your 19 THE STENOGRAPHER: Yes. You were going
20 portal and can decline to continue with that trip for 20 to send that one to me.
21 the future. 21 MR. JONES: Yeah, I'm going to send it to
22 Q. So it's safe to say you do contact the 22 you. But 1 want to mark exhibit -- so the last
23 vender to see if he's available? 23 exhibit was 3, right?
24 A. Ifit is for the same day or next day 24 THE STENOGRAPHER: Yes.

 

 

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MR. JONES: So I have a document that I

would like to share and ask a question on. I'm

going to send this one. This is Exhibit 4.

Wrong one. Wrong one. I'm not secing the

files here. All right. This is -- Ellen, this

is going to be marked as Exhibit 4. This is

an e-mail that I received from Rebecca.

Q. And the question for this, do you see the
e-mail, Rebecca?

A. Yes.

Q. Okay. Now, earlier, 1 asked you about do
you recall any trips getting placed in the portal
without authorization, and you said. | don't
remember what you said, but I'm going to ask the
question again. Is there — do you recall any trips
being placed in a portal without our authorization?

A. My answer earlier was that I did not
recall any specifics but here in the e-mail, upon
investigation, it says that I found one.

Q. So this e-mail can you please read a part
that that's highlighted. Well, first of all, can you
read the top, where it's from to who and a date?

A. It's from myself to you on September 19,
at 9:25 a.m.

Oo Ow HD OF WN PF

NNNNNPRPP EEE Pe Pe
BWNHEF OW ATA OBWNEH OC

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confirmation or CCRD's confirmation?

A. Yes, that's what this e-mail states.

Q. And it says "the appropriate action has
been taken with the staff person." What type of
action was taken with the staff you found out that
they had placed trips in the portal that the vender
did not confirm?

MS. ECKER: I'm going to object to that
question, and I'm going to instruct her not to
answer. Not only is it beyond the areas of
inquiry by the court order, but it's also
confidential personnel information.

MR. JONES: How is it confidential
information and it says right here “appropriate
action.” I want to know what the objection is?

MS. ECKER: Right. That means it's
confidential. The action that has been taken
was a personnel action against the employee and
that is confidential. It doesn't relate in
addition to the issues that we're here to
discuss today.

MR. JONES: We're here to discuss
control. This points out control that one of
her staff was controlling us by putting back in

 

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Q. Okay. And can you read the highlighted
part of the e-mail?

A. It says, "Paul, our follow-up
investigation has been completed and it has been
found that this trip was placed by staff into your
portal at 10:34 on 9/17/19 without required vender
confirmation. Appropriate actions have been taken
with the staff person.”

Q. Is this a normal occurrence with staff
putting trips into the vender's portals without
requirement of confirmation?

A. Not that I found, no.

Q. Do you recall this happened to me several
times, maybe — you sent an e-mail like this several
times before?

A. No, I do not recall.

Q. Okay. So it's a fact that, -- isn't it a
fact that on September 17, 2009 this was placed in
the vender portal without vender confirmation?

A. It says it was found, that this tnp was
placed by staff into the portal.

Q. Okay. Let's try this again. Isn't ita
fact that this e-mail confirms that a trip, some
trips were placed in the vender portal without my

 

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our portal without our authorization. It's a

control issue.

MS. ECKER: Well, I disagree with your
characterization. But regardless of the
characterization, any discipline given to a
MART employee does not relate to whether you
are a MART employee or control and is
confidential.

MR. JONES: Okay. That's on the record.
Q. Again, Rebecca. It's a fact that MART

added work to the vender without confirmation?

A. It's a fact that an employee added this
trip without confirmation.

Q. Okay. That's fine. Now, does MART
require a high level of skills for drivers or
venders. Do they need like a college degree to be a
driver or a vender?

A. We don't -- there are certain
requirements for training and.

Q. No, that wasn't the question. The
question is, I'm going to state it. Does MART
require a college degree for a vender to be a vender
with MART?

A. No, there's no such requirement in place.

 

 

15 (Pages 54 to 57)

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1 Q. Okay. Does MART require a college 1 MR. JONES: She's adding comments.
2 degree, high school diploma for any driver to drive 2 MS. ECKER: Mr. Jones, she's answering
3 for MART? 3 your questions. She's actually been very
4 A. They're not driving for MART. We're not 4 patient. But go ahead you can answer it again.
5 the hiring authority. They're driving for CCRD. 5 MR. JONES: She is adding comments. I'm
6 Those requirements would come from you. 6 asking a simple question and she's adding
u Q. Do MART require any of CCRD drivers to 7 comments.
8 have a high school diploma or a college degree to 8 Q. Can your IVR system call at 6 p.m, at
9 drive their clients? 9 night, yes or no?
10 A. That is not defined in the specs, no. 10 A. Yes.
11 Q. So that's a no? 11 Q. Can your IVR system call at 7 p.m. at
12 A. That is not defined in the specs that are 12 night, yes or no?
13 required of the vender. 13 A. Yes.
14 Q. Is that a yes or a no? 14 Q. Can your IVR system even call after a
15 A. That's ano. It's not required in the 15 vender is closed?
16 specs of your contract. 16 A. Yes, it could.
17 Q. Okay. Allright. What time does your 17 Q. Okay. Here we go. Make this real short
18 IVR system start calling venders and drivers for next 18 and sweet. MART is in the business of
19 day trips each day? 19 transportation, correct?
20 A. I believe I answered that earlier, it's 20 A. Correct.
21 6:30 in the morning it starts. 21 Q. How long has MART been in business with
22 Q. So you start at 6:30 in the morning. Did 22 transportation approximately?
23 you ever start later than that? 23 A. For the service that you're doing?
24 A. It only starts a little bit later other 24 Q. Montachusetts Regional Transit Authority,
Page 59 Page 61
1 than that on a date that rates might be being applied 1 period, how long have they been in the business of
2 or if there was an issue with the system. 2 transportation, 10, 20, 30? It doesn't have to be
5 Q. Suppose a vender opens a little later, is 3 exact.
4 not open at 6:30, does the call still come through? 4 A. 50 years probably.
5 A. If they're signed up to get work through 5 Q. Did you say 50, Rebecca?
6 the IVR, yes, it does. 6 A. Oh, yeah.
7 Q. Ifa vender opens at 7, does the call i) Q. So it's a fact that MART has been in the
8 still start at 6:30? 8 transportation business for 50 years?
9 A. Yes. 9 A, Since it's inception, yes.
10 Q. And up to what time do the calls stop for 10 Q. Okay. So it's a fact that MART has been
il the IRV system -- IVR system for next day calls? 11 in the transportation business for at least 50 years?
12 A. That can vary. Because it's working on 12 A. Yes.
13 next day work. So as soon as all the work is 13 Q. Okay. So seeing that MART's IVR system
14 completed it stops. 14 calls venders and drivers daily, this is a continuing
15 Q. Is it fair to say that a vender or driver 15 thing Monday through Friday on a daily basis,
16 can receive a call at 6 p.m. at night? 16 correct?
17 A. They could if there was a high volume of 17 A. Correct.
18 work for the next day, yes. 18 Q. Okay. So, basically, every day MART is
19 Q. I'm going to ask that question, please 19 calling -- strike that.
20 just answer the question. 20 So MART -- strike that.
21 MS. ECKER: I'm going to object. You 21 MART has a continuing relationship with
22 kecp saying "I'm going to ask it again, please 22 the drivers and the vender?
23 answer the question." She's answered the 23 A. I'm not understanding your question.
24 question. 24 Q. I'm just saying that, you know, the

 

16 (Pages 58 to 61)

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1 question is, MART has relationship on an ongoing 1 screens that's required?
2 basis with the vender, meaning that the vender just 2 A. When you're adding a new driver?
3 doesn't get in touch with MART and get all this work. 3 Q. Yes.
4 This is a continuing relationship between MART and 4 A. Okay.
5 the venders and the drivers on a daily basis? 5 Q. Can you explain that report in detail?
6 MS. ECKER: Objection. 6 A. We don't label it as a report. There's
7 A. It's a relationship with MART and the 7 specific things that are required within the contract
8 vender. 8 prior to you, as a vender, putting the driver in
9 Q. Okay. 9 contact with the agency consumers that are under the
10 A. Ona daily basis. 10 contract. So you have to send a updated RMV report,
11 Q. Thank you. How often is the vender paid 11 the date that you ran the CORI. You have to at a
12 through MART, is it to be paid hourly, weekly, 12 minimum have a fingerprint receipt, and the required
13 monthly, biweekly? 13 training and confirmation of the result of the test
14 A. The service that your company provided 14 for the preemployment.
15 was for the MassHealth PT One Demand Response, which 15 Q. Is that before we can -- the employee,
16 is a 15-day billing cycle. The first or the 15th of 16 the driver, can actually start driving with MART
17 the month is the first cycle. The 15th should be end 17 required to send to you guys?
18 of the month, is the next cycle and then there's 18 A. You're supposed to update your vehicle
19 payable for the contractual obligation; they're paid 19 log as you hire so we verify that they have all the
20 within 45 days following an improved invoice. 20 requirements.
21 Q. So, basically, the work that the vender, 21 Q. What type -- what is the name of this
22 CCRD, and their employees perform is part of MART's 22 document? You said it's not areport. What do you
23 everyday business? 23 name it?
24 MS. ECKER: Objection. 24 A. It's nota report. It's contractual
Page 63 Page 65
1 MR. JONES: On what grounds? 1 requirements.
2 MS. ECKER: Form of the question. But 2 Q. Isit an employee log? What's the name
3 she can answer. | didn't instruct her not to 3 of it? I'm going to put a name on it.
4 answer. 4 A. It's nota report. We house the backup
5 MR. JONES: You instructed her not to 5 information here in a database, but it's not -- we
6 answer that? 6 don't require that you submit a report. We require
7 MS. ECKER: She can answer the question. 7 that you submit particular items that are clearly
8 I'm just objecting for the record. 8 defined within your contract.
9 A. So repeat your question, Paul. 9 Q. Well, is it called an employee log, yes
10 Q. So the work that CCRD and I do isa 10 or no?
11 regular part of MART's business? 11 A. We keep a record here. We don't call it
12 MS. ECKER: Objection. 12 anything. It's in your database.
13 A. Correct. 13 Q. So it's not called an employee log,
14 Q. One second. J want to ask a question on 14 correct?
15 one more report that is required from MART. It's an 15 A. In the contract it's your employce log
16 employee report — driver's report. Strike that. 16 that you update.
1? I'm going to ask a question on 4 report that is also 17 Q. Okay. Rebccca, I'm trying to get a name
18 from the venders to MART that MART requested. Can 18 of this. 1 have e-mails that says send over employee
19 you explain the employee report? 19 log, and it says that an employec log is attached to
20 A. lam not sure what you're talking about 20 it, So I'm trying to understand, because you're
21 You'll have to give me an example of what you're 21 the --
22 referring to. 22 A. Within the contract, Paul, it's your
23 Q. No problem. The drivers report, you 23 company's updated employee log that they're
24 know, when you send over the drivers hire date, drug 24 referring.

 

17 (Pages 62 to 65)

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1 Q. I don't care -- the question's not whose 1 I'm trying to ask you if — it's just a
2 itis. The question is the name of it, because I 2 simple straightforward question. Do Commonwealth
8 just want to write it down for, you know, exhibit 3 Community Recovery Division have to get approval from
4 purposes and things like that. 4 MART before we let a driver come in contact with a
=) A. In your contract it is referred to as 5 consumer, yes or no?
6 your employee log. 6 A. No, CCRD has to follow their contract
7 Q. So employee log is the name, correct? 7 and have all those items in place prior to putting
8 A. Yeah. 8 the individual into service.
9 Q. Okay. When is this required to be sent 9 Q. Okay. A few more questions here. Is a
10 to MART? 10 GPS system required to transport MART clients?
11 A. Your contract clearly defines that you're 11 A. It's in the current contract.
12 supposed to submit it when you make changes to it. 12 Q. Is it required?
13 Q. So is it a fact that before we hire an 13 A. I think I answered that earlier saying I
14 employee -- a driver -- I'm sorry, strike that. 14 don't think it was in there as a requirement.
15 Is it a fact that before we hire a 15 Q. No, we were — what we were just talking
16 driver, we have to submit all these documents like an 16 about earlier with the GPS was regarding
17 RMV-1 and whatever else is required to MART for 17 cancel]lations and things like that, if there was a
18 approval? 18 requirement for a cancellation. Now I'm asking is
19 A. You can -- you're required to perform all 19 there a requirement to transport MART's clients?
20 those items before you put the individual in contact 20 A. There currently is.
21 with our consumers. 21 Q. As of?
22 Q. Okay. Does MART have to approve it if 22 A. It's in the new contract.
23 the driver is approved? 23 Q. For 2021?
24 A. When you send us your updates, we look at 24 A. 2022.
Page 67 Page 69
1 all that documentation and say that they meet 1 Q. 2022?
2 guidelines; if they don't meet guidelines, then we 2 A. Yeah.
3 tell you you have to remove then, that they can't 3 Q. Soit's in there. Okay.
4 transport MART's members. 4 A. Yes. And I believe in '19 or '20 we were
5 Q. So MART has the authority -- strike that. 5 launching our driver app, so you would have to have a
6 So we have to go to an approval process 6 GPS-enabled phone.
7 with MART before we hire a driver and let them come o Q. On your driver's app, was that a
8 in contact with MART's employees; is that clear? 8 requirement that every driver use?
9 A. You don't have to seek our approval to 9 A. We were just launching it so we were
10 hire your employees, You're supposed follow all 10 putting it in place.
11 those things that are identified in the contract 11 Q. When did it launch?
12 prior to putting them in contact with agency 12 A. We started launching it last year.
13 consumers. 13 Q. So now is it a requirement for all
14 Q. Do you have to receive all your 14 drivers to have?
15 credentialing before we put them in contact with 15 A, FY22.
16 MART's consumers? 16 Q. That's great, save venders a lot of
17 A. Not necessarily. If you've done what's 17 money. I got a few more questions, and we can wrap
18 required of your contract: when you send it, we're 18 this thing up.
19 going to verify it. 19 MR. JONES: So, now, Ellen what we need
20 Q. So is that a yes or no? 20 to do is put up -- I'm going to send you
21 A. We don't have to approve that. You are 21 Exhibit 3 and 4; | made a note of that. And so
22 the hiring authority. 22 basically I just want to put up Exhibit 2 --
23 Q. Do you -- do MART have to approve — 23 I'm sorry. Hold on one second. Exhibit 1, the
24 strike that? 24 interrogatories, I have a question on that.

 

18 (Pages 66 to 69)

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1 Interrogatories and admissions is on Exhibit 2. 1 couldn't change it, only MART could, right?
2 So we can get rid of Exhibit 1, Ellen, and go 2 A. A year and a half, two years ago, yes.
3 to Exhibit 2 so I can ask these final 3 Q. Are you sure?
4 questions. Exhibit 2, everyone sees it? 4 A. I'm pretty sure, yes.
5 MS. ECKER: Yes. 5 Q. Okay. Are you sure, yes or no?
6 A. Yes. 6 A. I don't recall the exact date. It was
7 Q. Okay. This document is, Exhibit 2 it has 7 approximately two years ago.
8 the answers that were sent from the defendant to me, 8 Q. Approximately two years ago?
9 the interrogatories, admissions and -- this has the 9 A. Yes.
10 interrogatories and admissions. So I have a few 10 Q. Are you sure that you electronically
li questions. Have you ever seen this document before, 11 signed these on May 25, 2021?
12 Rebecca? 12 A. Yes.
13 A. Yes, Ihave. 13 Q. And you answered them as well, correct?
14 Q. Okay. See my mouse? 14 A. Correct.
15 A. Yes. 15 Q. Let's go back to No. 2 for the answer.
16 Q. Can you just read what it is, the title 16 Can you read the answer, please, No. 2.
17 of this document? 17 A. "Defendant objects to the interrogatory
18 A. "Defendant ANSWERS to Plaintiff's First 18 to the extent that it does not contain the entire
19 Set of Interrogatories." 19 e-mail referenced, which is a document that speaks
20 Q. Okay. Who answered these? 20 for itself, and was not attached to the plaintiff
21 A. Myself. 21 first set of interrogatories to the defendant.
22 Q. Okay. Can you read Interrogatory No. 2, 22 “Without waiving this or any other
23 please. 23 objections, the defendant responds to the
24 A. "Please explain why after plaintiff 24 interrogatory as follows: MART's venders are able to
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1 contacted Rebecca Badgley, Michelle Moyo and others, 1 make changes to their capacity manager to reflect
2 thal he was unable to edit the CCRD capacity tabs and 2 time and days of the week they are willing to accept
3 was denied access to do so and was told that MART 3 work by visiting the vender portal and editing the
4 does not give the vender ability to change they 4 capacity management tab. The venders are not able to
5 capacity, that is something that only MART has access 5 change the actual capacity figure in the vender
6 to. With regards to standing orders, you will need 6 portal software system.”
7 to contact the scheduling department. Thank you," 7 Q. Okay. So according to this answer, MART
8 which was "cc" to the brokeragecontract@mrta.us, and 8 venders are able to make changes to their capacity
9 which was seen by over 15 MART employees.” 9 tab?
10 Q. Okay. That was the question that I 10 A. Manage it --
11 asked. When did you answer these? I'm going to go 11 Q. To reflect times and days of the week?
12 down to the date — strike that. 12 A. Yes.
13 It said you answered this on April 28, 13 Q. Correct?
14 2020 — no, nope. I'm sorry. 14 A. Yes.
15 A. No, it says that | answered it on May 15 Q. Didn't earlier you tell me we weren't
16 25th. 16 able to change the capacity tab to reflect --
17 Q. Nope. May 25th? 17 A, It says you weren't able to change your
18 A. That's when [ physically signed my name. 18 capacity for the amount of work, that is specific to
19 Q. Yes. So what was the date you answered 19 the dates and times of the week that you're —-
20 these on? 20 Q. Why don't you strike that and I'l do it
21 A. May 25th. 21 over that way -- so it's a fact that MART venders
22 Q. Okay. Now, earlier, ] asked you about 22 are able to make changes to their capacity manager to
23 the capacity tab, and you said, oh, it was changed 23 reflect the times and dates of the week they are
24 two years ago where venders or employees of venders 24 available, correct?

 

19 (Pages 70 to 73)

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1 A. Correct. 1 understanding here. Is this correct or isn't
2 Q. Okay. So now I want to ask -- we're 2 correct? You denied it so...
) going to go down to the admissions. Are you familiar 3 MS. ECKER: She denied the entire
4 with this document, Rebecca? 4 paragraph, that was my objection. If you want
5 A. Yes. 5 to ask her a question that's not specifically
6 Q. Can you read Request 1, please. Let me 6 this request, you can do that, but she denied
7 makc it a little bit bigger. 7 the entire request.
8 A. No, that's fine. Ican see it. "Admit 8 MR. JONES: Okay.
9 that MART coordinates the time of pickup and drop-off 9 Q. So can you read it one more time, pleasc?
10 and retum of all their clients that calls MART 10 A. "Admit that the capacity tab controls the
11 directly for transportation services through their 1i time a vender operating hours displays to MART and
12 transportation brokerage program for trips that are 12 the amount of jobs and money a vender can schedule
13 assigned to transportation venders." 13 and earn with MART's transportation program."
14 Q. And the response, please. 14 Q. And the response was denied -—-
15 A. "Admitted." 15 A. Correct.
16 Q. Okay. Request No. 2, can you read it, 16 Q. -- correct? In your own words, tell me
17 please? 17 what the capacity tab controls?
18 A. “Admit that that capacity tab controls 18 A. So the capacity tab shows the hours that
19 the time a vender is operating hours displayed to 19 you're operating --
20 MART in the amount of jobs and money a vender can 20 Q. No. What it controls. Please --
21 schedule and eam with MART's transportation 21 MS. ECKER: She just answered your
22 program." 22 question. Let her finish.
23 Q. Answer? 23 MR. JONES: Please, Ms. Ecker, you don't
24 A. "Denied." 24 have to be disrespectful. But can we please be
Page 75 Page 77
1 Q. The response, please? 1 cordial.
2 A. It says "denied." 2 MS. ECKER: I'm just saying you asked a
3 Q. Now, can you please tell me why this was 3 question. Pleasc Ict her finish her answer.
4 denied? 4 MR. JONES: But it's the manner in which
3 A. Well, ullimalely, you choose. We offer 5 you're saying it. Can we just be cordial here,
6 you work and you choose whether you're going to 6 please.
7 accept or decline. 7 MR. ECKER: We are being cordial. I'm
8 Q. I'mreferencing a question. "Admit that 8 not trying to talk over you. But you asked a
9 the capacity tab controls the time," stop. Does the 9 question, please let her answer it.
10 capacity tab controls the time? 10 MR. JONES: Thank you. That's much
1L MS. DECKER: I'm going to object if 11 better.
12 you're asking her only a portion because 12 Q. So I'm going to ask you the question
13 you're -- it doesn’t have a period after that. 13 again.
14 You asked her about the entire request for 14 A. It displays the times that your company
15 admissions. If you're asking all of the 15 operates and what your capacities are; but,
16 request, that's fine. 16 ultimately, you, as a vender, control what you accept
17 MR. JONES: No problem. 17 or decline from what's being offered to you.
18 Q. "Admit that the capacity tab controls the 18 Q. Can you repeat that?
19 time a vender operating hours displays to MART." 19 A. I said the capacity tab shows what your
20 Rebecca? 20 hours of operation are and what your capacity is, but
21 A. The capacity tab contains your hours of 21 you, as the transportation provider, control what you
22 service. 22 accept or decline.
23 Q. I'm taking this question all the way up 23 Q. Okay. You said -- my question was, what
24 to "and." So, basically, I'm trying to get an 24 does the capacity tab control? You answered the

 

20 (Pages 74 to 77)

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question that says what the capacity tab shows, shows
and control are two different things. I want to know
what the capacity tab controls not what the capacity
tab shows. So, please, the question again is, in
your own words, what does the capacity tab control?
MS. ECKER: Objection. You can answer,

if you can.

A. Companies are provided a volume of work
based off their capacity; that's the only thing that
it controls, is the volume of work that is assigned.

Q. Okay.
A. You control what you accept or decline in
what you do.

Q. Okay. You just said that the capacity
tab controls the volume of work; is that correct?
A. Being offered. If you as a company,
Mr. Jones, can only handle a hundred trips per day --
Q. That's not the question that I asked,
Rebecca?
A. You're asking --
Q. I did not ask that question.
MS. ECKER: Mr. Jones, let her finish.
MR. JONES: No, it's -- I'm not
because --

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in 2017 stating all venders must create and submit a
log to MART on a monthly basis at the end of the
month, odometer reading, updated vehicle inventory,
total vehicle hours and hours that the vehicle is on
the road in service to MART for the month. Example,
time driver leaves garage to begin work until break
and time back in service until next break. Vehicle
accident miles, the odometer reading of the vehicle
at the time of an accident, report dead head miles
for wheelchair van, reporting of mileage from start
to first pick-up and from last drop-off to garage at
the end of the day unless there is a significant
break, then would need same after break.
Percentage of fully allocated expenses in
service to MART broken down by the following
categories. 1. Vehicle operations, driver salary,
dispatcher salary, fuel. 2. Vehicle maintenance,
oil changes, tires, mechanic salary. 3. NonVehicle
maintenance, janitor salary, utility bills, cleaning
supplies. 4. General administration, office staff
salaries, profits, admin overhead, "f,” fuel cost,
total cost of fuel for the month, "g" gallons of
fuel, total number of gallons of fuel purchased, "h,"”
miles per gallon, average number of miles that a

 

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MS. ECKER: Let her finish. Mr. Jones,
let her finish.
MR. JONES: I did not ask that question.
MS. ECKER: Mr. Jones, let her finish.
MR. JONES: My question is, what does the
capacity tab control, and she said a volume of
work being offered. And -- is that correct?
MS. ECKER: And she didn't finish her
answer. So, for the record, please have her
finish her answer to you. Go ahead, Rebecca.
A. It is not going to offer the vender over
what their capacity is for the day.

Q. That's not my question. Listen, my
question is, what does the capacity tab control?

A. The capacity that you, as a company, and
your fleet size can handle in the course of a day.

Q. Okay. Thank you. Now, what does the
capacity tab show?

MS. ECKER: Objection.

A. [already answered that, the hours --
operating hours and capacity.

Q. Okay. Question answered. All right.
Read number 3 for me.

A. "Admit that MART employees sent an e-mail

 

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vehicle travelled on one gallon of fuel for each
vehicle used for brokerage contract."

Q. And the question was -- what was her
response?

A. "Admitted that MART request brokers
provide MART the information set forth above. Denied
that the above is a complete and accurate recitation
of an e-mail sent by a MART employee in 2017, which
e-mail is a document that speaks for itself and was
not attached to Plaintiff's Request for Admissions."

Q. Okay. Would you admit that Request No. 3
is in your 2019 amendments not contract?

A. Yes.

Q. So for the record you admit that Question
No. 3 is in your 2019 amendments, just to be clear?

A. Yes, it was in the 2019 amendment.

Q. Okay. Do you admit this is a requirement
for MART venders and their drivers in the 2019
amendments?

A. Yes, it was in the amendment. But [
believe I indicated earlier that we didn't require
it. We didn't force venders to submit.

Q. Hold on. So you're saying that the
governing document in 2019 had this in it, but it

 

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1 wasn't a requirement? 1 the transportation business, correct?
2 A. We did not force the venders to submit 2 A. Correct.
3 it, that is correct. 3 Q. For approximately 50 years, correct?
4 Q. The question is, is it a requirement? 4 A. MART, a regional transit authority, yes.
5 A. [t was in the amendment. I've answered 5 Q. MART is -- you said MART has been in the
6 the question. My response is not going to change. 6 business for approximately 50 years, correct?
7 It is in the amendment. 7 A. Correct.
8 Q. It is a requirement in the 2019 8 Q. And you also earlier stated that MART
9 amendments, yes or no? 9 didn't require a vender to have a degree, high school
10 A. It was in the additional provider 10 diploma or anything like that, correct?
11 performance standard under required reporting. But 11 A. Correct.
12 we did not request the venders to submit nor force 12 Q. But, yet, on No. 5 when J asked, "Admit
13 them to. 13 that MART — that the skills required to participant
14 Q. Rebecca, this is a very simple question. 14 at MART programs, transportation programs as a
15 MS. ECKER: And she's answered the 15 transportation venders does not require a degree in a
16 question. 16 particular skill and constitute a regular and
17 MR. JONES: No, she didn't. 17 essential part of MART's business operations." You
18 MS. ECKER: Mr. Jones, she's going -- 18 denied No. 5, right?
19 MR. JONES: She — 19 A. Correct.
20 MS. ECKER: Mr. Jones, Ict me finish for 20 Q. Thank you. I got a question. Can you
21 the record so the stenographer doesn't have us 21 explain what a standing order is?
22 talking over one another. You repeatedly do 22 A. A standing order is a repeating trip
23 this. You ask the question. She answers the 23 schedule. So an example of that would be an
24 question. For whatever reason, you don't like 24 individual going three days a week same days, same
Page 83 Page 85
1 the answer, you ask again and we go back and 1 times, same appointments, such as dialysis or
2 forth. I will let you ask it one more time 2 something of that nature.
3 before I -- 3 Q. So if l accepted — if Commonwealth
4 MR. JONES: This is a yes or a no 4 Community Recovery Division accepted a trip and I was
3 question. 5 a driver, say I was the only driver, and I had a
6 MS. ECKER: But it's not. And I think 6 standing order for seven days a week, under your
7 that's what you're not understanding. Just fl definition I would have to take that client every day
8 because you say it is a yes or no question, 8 of that standing order?
9 doesn't mean the witness has to answer yes or 9 A. Correct.
10 no, so that's your interpretation. But it's 10 Q. Okay. So isn't it a fact MART requires
11 not necessarily a yes or no answer every time 11 vender portal training at least once when you first
12 you ask a question. But go ahead, ask again. 12 start, a vender starts?
13 Q. Rebecca, is No. 3 that you just read with 13 A. Yeah. Lanswered that earlier. We have
14 all these requirements in the 2019 MART amendments? 14 them come in for vender portal training before their
15 A. Yes, it is in there but we did not 15 work is assigned.
16 require it to be submitted, 16 Q. Okay. Can you read No. 8, please?
17 Q. Thank you. We're going go to No. 5. Can i7 A. "Admiled that MART requires it's vendors
18 you read that please, Request No. 5? 18 lo abide by safety requirements, to have certain
19 A. "Admit that the skills required to 19 policies of insurance, to meet certain vehicle
20 participate in MART's transportation program as a 20 requirements and offers other vendor portal and
21 transportation provider does not require a degree in 21 orientation training.”
22 a particular skill the constitute a regular and 22 Q. You didn't finish it.
23 essential part of MART's business operations.” 23 MS. ECKER: [think she might have.
24 Q. Okay. Earlier, you said that MART was in 24 A. I think I started with the response. I'm

 

22 (Pages 82 to 85)

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1 SOITy. 1 Exhibits 3 and 4. Thank you very much ladies

2 Q. Yeah. Can you — Request No. 8. 2 for your patience with me.

3 A. Request No. 8, "Admit that MART provides 3 THE STENOGRAPHER: Attomey Ecker, would

4 Vendor safety requirements, insurance requirements, 4 you want a copy of this?

5 vehicle requirements, CCRD INC employee a MS. ECKER: Yes, please.

6 requirements, vendor portal, orientation training, 6 THE STENOGRAPHER: Exhibits also?

7 requires a vendor to work every day if they have a 7 MS. ECKER: Yes, please.

8 standing order for seven day a week, which is 8

9 mandatory for all venders." 9 (Deposition concluded at 1:16 p.m.)

10 Q. And the response please for No. 8 can you 10 (Exhibits 1-4, marked off the record)
il read? il
12 A. “Admitted that MART requires its vendors 12
13 to abide by safety requirements, to have certain 13
14 policies of insurance, to meet certain vehicle 14
15 requirements and offers vendor portal and orientation 15
16 training. The remaining allegations are denied." 16
17 MR. JONES: Ellen, did you get the last 17
18 sentence of that because J didn't hear. 18
19 THE STENOGRAPHER: She's reading it from 19
20 the document, so yeah. 20
21 MR. JONES: Can you repeat the last 21
22 sentence she said, Ellen. 22
23 Q. Can you please read No. 9. I'm sorry. 23
24 Let me make a note. No. 9 has Response No. 9 and 24
Page 87 Page 89

il Response No. 9. It's supposed to say Request No. 9. 1 CERTIFICATE

2 So can you read the top one? 2

3 A. "Admit that CCRD or their employees 3 COMMONWEALTH OF MASSACHUSETTS

4 possess no proprietary interest in their respective 4 PLYMOUTH, SS,

5 delivery routes that MART assigns and all customers 5 1, Ellen M. Muir, a Shorthand Reporter, do

6 (clients) belong not to CCRD but to MA." 6 hereby certify:

fi Q. Okay. Just to make a clarification, "MA" 7 REBECCA BADGLEY, the witness whose testimony is

8 stands for MART. 8 hereinbefore set forth, was duly sworn by me,

9 A. Okay. 9 pursuant to Mass. R. Civ. P. 27, 30, 30A, and 31, and
10 Q. And can you -- did you know that when you 10 that such testimony is a true and accurate record of
11 answered this? 11 my stenotype notes taken in the foregoing matter, to
12 A. Tassumed that you meant that the 12 the best of my knowledge, skill and ability.

13 consumers belonged to the State of Mass. and the 13 I further certify that [ am not related to any

14 agency that they're covered by, so. 14 parties to this action by blood or marmiage; and that
15 Q. Okay. Sol can you read the response, 15 Iam in no way interested in the outcome of this
16 please? 16 matter.

17 A. "Admitted that CCRD has no proprietary 7 IN WITNESS WHEREOF, | have hereunto set my hand
18 interest in the trips offered by MART and accepted by 18 This Sth day of July, 2021.

19 CCRD. The remaining allegations are denied." 19

20 Q. Also, basically, | misnumbered these and 20

21 the responses so they were -- okay. I already -- 21 i

22 strike that. Okay. So that's admitted. We can wrap 22 (AME pn LPB fT gare 2
23 it up for the day. 23 Ellen M. Muir My Commission expires:
24 MR. JONES: Ellen, I'm going to send you 24 Notary Public May 8, 2026

 

 

 

23 (Pages 86 to 89)

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1 UNITED STATES DISTRICT COURT
2 DISTRICT OF MASSACHUSETTS
3
4 Civil Action No. 4:19-cv-11093-TSH
5
6 KKEKKKEKK KKK KKK KKK KKK KKKKKKKKKEKKKEEEK
7 PAUL JONES, zs

Plaintiff, rs
9 Vv. *

10 MONTACHUSETTS REGIONAL TRANSIT *

ca AUTHORITY, et al. *

12 Defendants 7

13 KAKI KEK KKK KKK IKK KKK KKK KKKKKAKKEK KK

14

15

16 30 (b) (6) DEPOSITION OF REBECCA BADGLEY:
17 APPEARING REMOTELY FROM

18 Fitchburg, Massachusetts

19 June 22, 2021 9:59 a.m.

20

21 Reported By:
22 Ellen M. Muir
23 APPEARING REMOTELY FROM PLYMOUTH COUNTY,

24 MASSACHUSETTS

 

 

 

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1 INDEX

2

3 WITNESS: REBECCA BADGLEY

4

5 EXAMINATION BY: PAGE:

6 Mr. Jones 4

7

8 (Exhibits marked off the record)

EXHIBIT: DESCRIPTION: PAGE:

10 1. Amendment to complaint & 88
11 Defendant's Responses to
12 Plaintiff's Request for
13 Documents
14 2x Defendant's Answers to Plaintiff's 88
15 First Set of Interrogatories &
16 Defendant's Response to Plaintiff's
17 First Request for Admissions
18 Bre GMail e-mail, End of Day Report 88
19 for DMA work, August
20 4, Gmail e-mails between Mr. Jones & 88
21 Rebecca Badgley
22
23 (Exhibits marked electronically by stenographer)
24

 

 

 

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1 REBECCA BADGLEY, Deponent, having first been
2 satisfactorily identified and duly sworn, deposes and
3 states as follows:
4
5 EXAMINATION BY MR. JONES:
6 Q. Hello, I'm going to go to Exhibit 1

7 first, page 41. Exhibit 1 is 2019 -- it's 2018
8 amendment to the contract, but it takes effect 2019.
9 My first question is, what would you like me to call

10 you, Ms. Badgley or Rebecca?

11 A. Whichever is fine, Paul.

12 Q. Okay. Rebecca. Rebecca, does this

13 document look familiar to you?

14 A. Yes, that's the FY19 contract amendment

15 to be effective July 1.

16 Q. Okay. July 1 of 2018, correct?

17 A. Correct.

18 Q. Fiscal year 2019 amendments?

19 A. yep.

20 Q. Now, is your 2019 amendments, is it --

21 has it governed the venders in your brokerage program
22 at Montachusetts Regional Transit Agency?
23 A. It's an amendment to their original

24 contract that was through FY22.

 

 

 

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1 Q. So this governs them, correct?

2 A. It's the regulations that are required to
3 be followed, yes, sir.

4 Q. Okay. All right. Now, you're going to

5 go down to page 41 of this document, which is 2019

6 amendments. Rebecca, can you please read 1A, what's
7 required for the reporting requirement "A," please?
8 A. "End of month odometer reading on

9 vehicles used for brokerage contract. Update vehicle

10 inventory with new or deleted vehicles."

11 Q. Okay. "End of month odometer reading on
12 vehicles." Can you explain what does that mean?

13 A. The odometer reading would be the number
14 of miles on your vehicle's odometer at the end of

15 the month.

16 Q. So is it a fact that this is saying that
17 for each vehicle the vender would have to produce an
18 end of the month odometer reading for each and every

19 vehicle?

20 A. Correct. But it's not something that we

21 enacted, Paul.

22 Q. Well, just answer the question, please.
23 MS. ECKER: She is answering so let her
24 finish. Did you have something else, Rebecca?

 

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1 A. That wasn't the FY19 amendment. But it
2 wasn't something that we ended up enacting and

3 requesting of the venders.

4 Q. Okay. But, look, this is my deposition
5 I'm asking a question, so basically I just want a

6 simple answer. If you guys want a deposition, you

7 guys can schedule one or whatever, so I want to get

8 through this quick because it costs me money. So

9 please just answer the questions. So, again, the end
10 of the month odometer reading you're stating that
ial each vender has to give for each vehicle a document
12 that states how much the mileage is at the end of the
13 month, correct?
14 A. Yes, for the vehicles used on the

15 brokerage MART.

16 Q. Okay. Now, "B" can you please read line
17 "B" for me, please?
18 A. "Total vehicle hours, total vehicle hours

19 that the vehicle was on the road in service to MART
20 for the month. Example: Time driver leaves the

21 garage to begin brokerage work until break and time
22 back in service till next break or end of day."

23 Q. Okay. So line "B" basically says every

24 day the vender and the drivers would have to keep

 

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1 vehicle hours worked, correct?
2 A. When in service for MART, yes.
3 Q. Yes. Okay. Can you read line "C,"
4 please?
5 A. "Accident vehicle miles, the odometer
6 reading of the vehicle at the time of the accident."
7 Q. Okay. This is required for each vehicle
8 if it gets into an accident, correct?
9 A. For MART work, yes.
10 Q. Yes. Okay. "D" can you please read "D"?
11 A. "Report dead head miles for wheelchair
12 vans or vehicles with a capacity of 14 or more
13 passengers, reporting of mileage from start to first

14 pickup and from last drop-off to garage at the end of

15 the day, unless there is a significant break, then

16 would mean same after break."

17 Q. That doesn't apply to Commonwealth

18 Community Recovery Division, the vender here, because
19 we don't have passenger vans with 14 or more.

20 MR. JONES: Can you scroll down so we can
21 see the other, the rest of the document,

22 please, Ellen.

23 THE STENOGRAPHER: Yep.

24 Q. Rebecca, can you please read line "KE" of

 

 

 

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this document?

A. "Percentage of fully allocated expenses
in service to MART broken down by the following
categories. See example below: Based off of 40,000
monthly invoice."

Q. Can you explain exactly what line "E"
means, Rebecca?

A. It's a percentage of the allocated

expenses that you have when in service for the MART

brokerage.

Q. So you guys would like a report of this,
correct?

A. Yes. At the time we put it in that's

what we were looking for. As I stated earlier it was
never requested or enacled for.

Q. So vehicle 1 -- I mean, E-1 can you read
that line, please?

A. "Vehicle operations, driver salary,
dispatch salary and fuel, 32,000, 80 percent."

Q. Okay. So this is the example of what the
requirements would be for 2009, correct, for vehicle
operations, driver salaries, dispatcher salaries and
fuel?

A. Based off your invoicing to MART.

 

 

 

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1 Q. You would want a report for the driver's
2 salary, the dispatcher's salary and the fuel,
3 correct?
4 A. A percentage of those items based off
5 your invoice for the month.
6 Q. Yes. But in the report you would want a
7 breakdown of the driver's salary, correct?
8 A. What is considered to be vehicle
9 operations, which includes driver salary, dispatch
10 salary and fuel.
11 Q. And you would want a breakdown of a
12 dispatcher salary, correct?
13 A. That's included in the vehicle
14 operations. It's not an individual breakdown.
15 Q. Right. I'm just asking one question at a
16 time so we can get everything on the record. You
17 would also want a breakdown of the fuel on a monthly
18 basis, correct, used for transporting MART's clients?
19 A. Correct.
20 Q. Can you read "E-2, please.
21 A. "Vehicle maintenance, oil changes, tires,
22 mechanic salary."
23 Q. Okay. So, basically, you would want a
24 report, a fee for vehicle maintenance for the oil

 

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changes for the month, correct?

A. A percentage, again, of your total
invoice related to the MART trips for the month.

Q. So you would want a breakdown, a report
of the oil changes that the vender used for the
month, correct?

A. That would be what is considered vehicle
maintenance. We're not asking you to list individual
oil changes.

Q. Okay. All right. Let's go on to number

A. "Nonvehicle maintenance, janitor salary,
utility bills, cleaning supplies, etc."

Q. Okay. Can you explain what number 3
means when you say you need a breakdown, a percentage
of what we spent the money on for janitor salary,
because transportation companies don't have janitor
salaries. Can you explain that, please?

A. You may not but some do. That's an
example of what percentage of your monthly invoice
would go to nonvehicle maintenance.

Q. Nonvehicle maintenance. So are you
saying janitor salary for office?

A. Yes, the facilities.

 

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1 Q. Okay. For the facilities?
2 A. Uh-huh.
3 Q. Okay. Utility bills, the breakdown for
4 utility bills you guys are asking for and that is
5 also for the facilities, correct?
6 A. Correct. Your nonvehicle maintenance.
7 Q. Okay. And the cleaning supplies, is that
8 for nonvehicle maintenance as well?
9 A. Correct.
10 Q. Okay. Can you please read E-4, general
11 admissions -- administration.
12 A. "General administration, office staff,
13 salaries, profit, admin, overhead.
14 Q. So I'm trying to get an understanding of

15 what D-4, general admissions. Can you please give me
16 an understanding of when you guys say "office staff
17 salaries," what is MART looking for in this E-4?

18 A. Again, those particular items are just a
19 percentage of your monthly invoice to MART for MART
20 services.

21 Q. So office staff salary. As you know we
22 had a couple -- well, you probably don't know but we
23 had a couple of staff that wasn't with MART; would

24 that be included?

 

 

 

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A. No. That were working on the MART
contract?
Q. Yes.
A. No.
Q. So you would only want a breakdown of the

office staff salaries that work with MART, correct?

A. Correct.

Q. Okay. Profits. You would also want a
breakdown of the monthly profits that the vender
INade, correct?

A. A percentage of your monthly invoice to
MART, are all those items are.

Q. Profit. Let's focus on profit. MART
would want a breakdown of the profit for the monthly
invoice that we received from MART, correct?

A. That is one of the items under general

administration, yeah.

Q. It's profit, correct?
A. Yeah.
Q. Okay. Administration overhead, can you

give me a definition of administration overhead?

A. Your costs.
Q. For?
A. To run your office, your administration.

 

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1 Q. Okay. Can you make that a little
2 clearer; I need a breakdown of what administration
3 overhead cost includes and means, for the record?
4 A. Well, I'm not a hundred percent sure how
5 you run your business but that could be different --
6 could be even different supplies for your office.
7 Q. It could be what?
8 A. It could be different supplies for your
9 office.
10 Q. Such as?
11 A. Anything, paper, pens.
12 Q. Papers, pens?
13 A. Could be anything.
14 Q. Office supplies?
15 A. Yes.
16 Q. Okay. Let's go to line "F," fuel costs.
17 Can you please read that line and tell me exactly...
18 A. "Puel costs, total cost of fuel for the
19 month."
20 Q. Would you please tell me exactly for the
21 record what does that line mean?
22 A. Again, it would be for your monthly
23 invoices to MART, the total cost of the fuel.
24 Q. So am I correct you're saying that you

 

 

 

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want a monthly report that breaks down the total fuel
costs that we use under the MART contract?

A. Correct.

Q. Okay.

MR. JONES: Ellen, can we go to the next

page?

Q. Can you please, Rebecca, read line G,
"gallons of fuel."

A. "Gallons of fuel, total number of gallons
of fuel purchased."

Q. So each month -- I just want to make it
clear for the record. Each month MART wants a
breakdown of the gallons of fuel purchased through

work done for MART, correct?

A. Correct.
Q. Okay. Can you please read "H"?
A. "Miles per gallon average, number of

miles that a vehicle travels on one gallon of fuel
for each vehicle used for brokerage contract."

Q. Okay. So line "H," "miles per gallon" am
I correct by saying that MART wants a monthly
breakdown of the number of miles for travel while
working for MART on one gallon of fuel report each

month, correct?

 

 

 

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1 A. Yes. For each vehicle used under the

2 contract, that is what was in the amendment.

3 Q. Okay. So let's just back up a little

4 bit. Can you state your full name for the record?

5 A. Rebecca Badgley.

6 Q. And what is your position at MART?

7 A. I am the director of the brokerage.

8 Q. Okay. How long have you worked there?

9 A. I've worked at MART for 32 years.
10 Q. For 32 years. Did you -- did you -- oh,
11 does it require you to have any degrees, college or
12 courses or anything?
13 A. At the time that I was hired, no, it did
14 not.
15 MS. ECKER: Can I just ask that we stop
16 screen sharing so I can see all --
17 MR. JONES: Excuse me?
18 MS. ECKER: Can you stop screen sharing
19 so I can see you and the witness if you're not
20 going to use the exhibit?
21 MR. JONES: No, we're going to go back
22 to, I mean, the exhibit. I just want to, you
23 know, I did not ask her some questions
24 regarding her job and, you know, because she is

 

 

 

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1 the witness, I just want to make sure she's
2 prepared.
3 MS. BECKER: Okay.
4 Q. You've been there 32 years. What is your
5 job description at MART, Montachusetts Regional
6 Transportation, brokerage?
7 A. I'm the director of the brokerage
8 operation. I oversee the contract that we have with
9 the State of Massachusetts --
10 Q. Okay.
11 A. -~- for human service transportation?
12 Q. Are there anyone in the room with you
13 right now, Rebecca?
14 A. No, there is not.
15 Q. Okay. So it is safe to say that you
16 oversee the department that makes all the phone
17 calls, the call center?
18 A. I oversee all aspects of the brokerage,
19 so, yes, that includes call centers, scheduling.
20 Q. Okay. I'm pretty sure -- did you get a
21 chance to see the complaint that I filed in federal
22 court?
23 A. Yes.
24 Q. Okay. Did you -- do you oversee all of

 

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1 the defendants on the complaint, such as Michelle

2 Morio, Stephanie -- all of the people in the

3 complaint, do you oversee them?

4 A. I am not their director manager, but I

5 oversee them as a whole, yes.

6 Q. Okay. All right. Now, we can get back

7 to the exhibit, Exhibit 1. Can you scroll down to --
8 MR. JONES: Ellen, can you scroll down to
9 the interrogatories, that end of the document.
10 I don't know what page it's on.
11 THE STENOGRAPHER: Hold on.
12 MS. ECKER: I'm trying to understand what
13 your Exhibit 1 is.
14 MR. JONES: This is my deposition. I'm
15 asking the questions here. But if -- I'll
16 explain the document to you. Just, if you have
17 a question, just get to the point. This
18 document is Exhibit 1. It is 2019, again
19 amendments, the interrogatories and the
20 admissions. Okay.
21 MS. ECKER: Okay. How many pages is it?
22 MR. JONES: Excuse me?
23 MS. ECKER: How many pages is it?
24 MR. JONES: It's 56 pages. See at the

 

 

 

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top it says 56. No, it's -- if you can scroll
down -- is that the last page, Ellen?

THE STENOGRAPHER: Yes, that's the last
page.

MR. JONES: It's 56 pages. Does that
answer your question?

MS. ECKER: No, but I'm assuming it's
going to be an official document so I'll know
when I get a copy of it, so that's fine. Go
ahead.

MR. JONES: So I answered your question,
correct?

MS. ECKER: You didn't because -- and
this isn't your fault. It's difficult ona
Zoom deposition, but it looks to me as if
you've combined some documents together, so I'm
just trying to understand what's contained in
your Exhibit 1 so I know if it's complete, if
it's not, so I have a copy. So not a big deal.
At the end of the deposition I am sure the
stenographer will provide me a copy.

MR. JONES: Yeah, if you pay.

MS. ECKER: Either way I get a copy of

the exhibits. But I will pay the stenographer.

 

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1 I always do.

2 Q. Let's go to the interrogatories.

3 MR. JONES: And for the record, all of

4 these documents were requested and sent from

5 you.

6 MS. ECKER: Well, I don't know that,

7 that's the problem with not having this all

8 mixed and matched. So I'll take your word for
9 it, but I don't know what is in this document,
10 is my point.
11 MR. JONES: Okay.
12 MS. ECKER: But I'll take your word for
13 it.
14 MR. JONES: We've already been down that
15 road. I told you and I'm telling you that
16 these are the documents that when I propounded
17 my first set of discovery request from you.
18 MS. ECKER: Okay.
19 MR. JONES: Ellen, if you can scroll up a
20 bit, so the admissions. Can we take a
21 15-minute break so I can set up my other
22 Bxhibit 2 to go through it so I can answer all
23 of Attorney Ecker's questions that she had for
24 Exhibit 1?

 

 

 

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1 MS. ECKER: I don't have any questions
2 for Exhibit 1. We can take a break but don't
3 do it just to answer my questions. I just what
4 to know what the exhibit is.
5 MR. JONES: I would like to take a break
6 so I can get my Exhibit 2 together, so I can
7 put together everything that I need. So let's
8 get back on the record in 15 minutes. Is that
9 fine with you, Ellen, Rebecca, Ms. Ecker?
10 MS. ECKER: That's fine with me. We'll
i1 be back at 10:45.
12 MR. JONES: Okay.
13
14 (Five-minute break was taken)
15
16 MR. JONES: We're going to stay on
17 Exhibit 1 for a few more minutes just -- okay.
18 Q. Rebecca, I have a question regarding
19 reporting. We're going to stay on this reporting.
20 Can you explain to me what end-of-day reporting that
21 was requested from MART, the definition of it and
22 meaning of it?
23 A. What section are you referring to, Paul?
24 Q. I'm referring to the end of the day

 

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report.

A. The end-of-day report would be your
end-of-day report when you download your schedules
for the next day.

Q. Okay. Does it -- is it fair to say the

end of the day reports all of the trips the drivers

and the venders went on -- the venders completed for
the day?
A. No. When we reference the

end-of-day report --

Q. Yeah.

A. -- in those additional provider
performance standards, we're referring to what would
be CCRD or whomever the vender is; when you download
your trips for the next day at the end of the day,
that's your end-of-day report.

Q. So does the end of the day report
consistent of all the trips that the vender performed
for the day?

A. It would be all of the trips that are
assigned to you for the next day.

Q. So basic it's just, to me, the schedule?

A. We don't ask you to submit end-of-day

reports to us.

 

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Q. Okay. I have --
MR. JONES: Ellen, I haven an e-mail that
I would like to submit to you, and I need you
to mark it as Exhibit 3. What is procedure?
How do I do that?
(Discussion between stenographer and

Mr. Jones)

MR. JONES: Okay. Do you see this? It
says, "Gmail end of the day report for DMA,
work August," Ellen?

THE STENOGRAPHER: Yeah. End of day
report 1, the one that's highlighted?

MR. JONES: Yeah.

THE STENOGRAPHER: Yep, it's there.

Q. Okay. Rebecca, can you -- this is an
e-mail that I received from Richard, Stephens (sic).
Can you just read the names that are on the e-mail

that's highlighted right there?

A. Stephanie Richards. And it's cc'd to DMA
Contract.

Q. Okay. What is the date?

A. The date is July 28, 2020.

Q. Okay. Can you please read the part that

 

 

 

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1 I just highlighted. It starts with a good morning?
2 A. "Good morning. Just a quick note, and
3 thank you to all who have been submitting their
4 report as requested. The end of the day report
5 should be received via e-mail prior to 8 a.m. the
6 following business day. MART needs to send an update
7 to HST by 9 a.m. the following day of transport, so
8 for today 7/28/2020. Please make sure you send by 8
9 a.m. on Wednesday, 7/29."
10 Q. Isn't it a fact that this e-mail states
11 that the end of the day report is requested every day
12 at 8 a.m. the following business day?
13 A. That's correct. That was the additional
14 request that was not part of the FY19 amendment that
15 we were going over, that was in regards to COVID
16 reporting.
17 Q. Okay. Do you know when this started, the

18 end of the day report request started approximately?

19 A. Give me one second and I can verify that.
20 Q. Yes.

21 MR. JONES: Ellen, can you mark this as
22 Exhibit 3.

23 A. I believe the initial request came in

24 around the 20th of July from HST.

 

 

 

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1 Q. Okay. So for the record, 20th of July
2 that's when the end of the reports request for each

3 vender started, correct?

4 A. Correct.
5 Q. Okay .
6 MR. JONES: So I'm going to stop sharing
7 that document. Did it stop sharing, Ellen?
8 THE STENOGRAPHER: Yes.
9 MR. JONES: Okay.
10 Q. All right. We're going to go back to --
11 MR. JONES: Can we share, go back to
12 Exhibit 1.
13 Q. Rebecca, can you please. For the record,
14 give me a description of your audit -- procedure for

15 auditing a vender for, you know, audits, you know, do

16 they inspect -- do you have an inspector that does

17 it; can you explain?

18 A. Yes. We have a team of inspectors who

19 perform the annual back audit for venders. The audit
20 is performed at the venders site and it's a review of
21 all the contractual requirements to ensure that the
22 annual retrainings have been done for all the

23 drivers, staff and that they have all the training

24 that's required; and that you're meeting all of these

 

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1 specifications that are within the contract.

2 Q. Okay. Do you guys ever require -- is

3 that the only requirements?

4 A. I'm sorry?

5 Q. Is that the only way MART perform audits,

6 is through the inspector?

7 A. Yes, as a general rule.

8 Q. That's the general rule?

9 A. Yes.
10 Q. And how many times a year is that
11 required?
12 A. When a vender first onboards, we do an
13 onboarding audit before they're assigned work. And
14 then it's done annually thereafter. And sometimes
15 additional follow-up is required and we have to go
16 back out and double check things that maybe weren't
17 present at the time we went out initially.
18 Q. Okay. If you guys see, to look to my
19 left, I have another computer over here that I'm
20 working on that have the exhibits up. So for the
21 record, once a year and before the vender starts, the
22 auditor -- a team of auditors come out and audit the
23 company at the facility, correct?
24 A. Correct.

 

 

 

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1 Q. Do you have any in-house people that do

2 audits, anybody at the brokerage department that

3 stays, you know, that will perform an audit there?

4 A. We have some that have those capabilities

5 but it's generally the inspector that is going out to
6 do those audits.
7 Q. So under the contract and the contract

8 amendments, audits are for the job of the auditor,

9 the inspectors, correct?
10 A. Correct.
11 Q. Okay. And is that a rule, right, under
12 the regulations?
13 A. It's required that we do annual debt
14 audits at the venders facility. We do have in-house
15 staff -- not sure what you're referring but we do

16 have in-house staff, compliant staff that as venders
17 are onboarding new drivers or new vehicles, that may
18 not be seen in audit. They will review and make sure

19 that that individual has all the requirements.

20 Q. Is that only at the beginning or ~--

21 A. Throughout the --

22 Q. Beginning of --

23 A. That's through the life of the contract
24 if you're adding individuals to the contract.

 

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Q. Okay. Is that -- do you know if that's
in your contract in amendments?

A. It's in the contract that you're required
to update your vehicle and driver lot that changes
are made and that all of those trainings and
requirements are required prior to putting them in
service with the consumers.

Q. Is the audit requirement and the contract
and amendments?

A. Yes, it's in the transportation provider
performance.

Q. Okay. In the Transportation provider

performance contract amendment does it state that the
inspector only does the audits?

A. No, I don't believe it does. It just
refers to the annual debt audits and inspections. It
doesn't classify who's performing them.

Q. Okay. Next question is regarding
training. Can you tell me -- vender training at your
facility. Can you tell me the procedure of vender
training on the vender portal at your facility,
please?

A. When a new vender onboards, before

they're assigned work, we have them come to our

 

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facility and they go through a vender portal
training, which is where it's described how they will
accept the work that's being offered to them, how the
billing will be done, how you file and respond to
complaints.

Q. Okay. During this vender portal
training, do you have screens and computers for the
venders to look at, for an example, of how a vender

portal looks like?

A. Yes.

Q. Okay. Is that a requirement?

A. What, that we have a screen?

Q. That you have a computer simulator that

shows your vender portal during training?

A. It's not a requirement. The vender
portal training is not a requirement. It's a
courtesy that we do with the venders so that they
understand how the systems work and can accept their
jobs and respond to claims. There's no specific
requirement within the contract; that's generally
done before you start accepting work.

Q. Okay. Isn't it a fact that the vender
reporting requirements are in your contract and

amendments that state that you would have to, through

 

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the vender portal, require -- through the vender
portal -- training before you can get any rides?

A. I don't believe it's stated within the
contract itself. But when a new vender comes
onboard, we actually go through their application
first, that's the first step; once the application is
approved, we send out the contract. Once the
contract is back and signed, we send out for the
initial audit at the vender facility. And then if
everything is complete, then we have the vender come
in for a vender portal training prior to being
assigned work.

Q. Okay. What is the procedure for a vender
to drop a client? Can a vender just drop a client as
far as if he doesn't want to transport this client
anymore or does he have to seek MART's approval?

A. If there's a particular individual that
you no longer want to transport, you can notify us
and we'll remove them from being offered to you in
the future.

Q. Do the venders have to get permission
from MART before they drop them?

A. No.

Q. So the vender has the power to drop any

 

 

 

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1 client that they want without MART's approval?
2 A. Are you referring to cancelling a trip
3 that you've expected or just no longer continuing to
4 transport an individual?
5 Q. The question is, can the vender no
6 longer -- choose to no longer transport a client
7 without MART's authorization?
8 A. If you already have them for a scheduled
9 tripped, you would have to inform us. You don't
10 require our authorization.
11 Q. Okay. Again, I'm trying to narrow this.
12 The vender has a client. There's a problem. Can the
13 vender drop the client for the next future trips
14 without consulting with MART?
15 A. MART has to be notified so that the
16 individual's trips are rescheduled.
17 Q. Okay. Can the vender drop the client
18 without MART's authorization, yes or no?
19 MS. ECKER: Objection. She's answered
20 this question.
21 MR. JONES: No, she hasn't.
22 MS. ECKER: Well, she has. But she can
23 answer it again.
24 A. We don't have to give you authorization,

 

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1 Paul, but we have to be notified.
2 Q. Okay. Now we're getting somewhere. So
3 MART -- what you're saying is MART does not have to
4 give the vender authorization to drop a client,
5 correct?
6 A. Correct.
i) Q. Now, I have a question. The next
8 question, does MART have the authority to hire and
9 fire any of the vender's employees?
10 A. We are not the hiring or the firing
11 authority. But by contract, we have the right to
12 request removal from an individual working on our
13 contract.
14 Q. So are you saying that MART has the right
15 to remove a driver from the contract?
16 A. From working on the MART contract, yes.
sa) It is in their contract that MART and/or E-O-H-H-S.
18 Q. Well, MART is --
19 A. Can fire or removal.
20 Q. So MART or E-H-S-S -- what was that,
21 E-S-H-S?
22 A. E-O-H-H-S, the Executive Office of Health
23 and Human Services.
24 Q. Okay. But my specific question is, does

 

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MART have the authority to remove a vender or a
driver from performing any trips with MART, yes or
no?

A. Yes.

Q. Okay. The next question is on the
capacity tab from the vender portal. Can you
explain for the record what is the capacity tab and
what it does?

A. So the capacity tab on the vender portal
would be the amount of work that the vender is able
to perform throughout the course of the day.

Q. Do the vender have the capability to
change the capacity tab to reflect how much work he
would like?

A. They did early on but that was locked
from being changed about two years ago, I think.

Q. So two years ago the capacity tab was no

longer available to venders to change?

A. Correct.
Q. Did you notify venders of this change?
A. We notified venders that we were going

through capacity and that we would be making
adjustments here.

Q. So you notified venders that they would

 

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no longer be able to control the capacity tab,
correct?

A. Correct.

Q. And when did you say this happened?

A. It was a couple of years ago, two years
ago.

Q. Have you ever received e-mails from me

inquiring about this specific thing, why I couldn't
change my capacity tab?

A. Honestly, off the top of my head, I
received several e-mails from you over time Paul; but
I don't know if that were related to the capacity.

Q. Okay. You state that all venders was
notified of this, correct, that the capacity -- that
they couldn't change their capacity tab any longer?

A. We sent notices out to venders that we
were going to be adjusting the capacity, based off
the fleet side.

Q. So would you -- would it be a fair to say
that MART controlled the amount of work that a vender
would request in his capacity tab?

A. Yes, we did control that based on the
size of the venders fleet.

Q. IT see. So what would be the procedure if

 

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1 I wanted to change my capacity tab after the changes
2 went through that only MART could control the

3 capacity tab?

4 A. You could e-mail the contracts department

5 and request that they be adjusted.

6 Q. So is it fair to say once that -- I'm
7 sorry. Are you finished?

8 A. Yes.

9 Q. Is it fair to say once a vender e-mail

10 the proper department, his capacity tab would be

11 changed only if MART thought his fleet size could
12 handle the change?

13 A. Correct.

14 Q. So, basically, MART controlled the work
15 based on the fleet size?

16 A. Correct.

17 Q. So MART could control each venders

18 capacity of work given to them based on how many

19 vehicles they had on the road?

20 A. A number of vehicles and the size of the

21 vehicles, yes.

22 Q. Basically, MART controlled the work that
23 a vender could receive?
24 A. The amount that would be offered, yes.

 

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Q. So MART control the amount of work that
could be offered to a vender?

A. Correct.

Q. Okay. Sorry, I just got to look at my
computer because I got everything written down.
Okay. Now, on the vender portal, how far out can a
vender go to accept work, one day, two days, a week,
two weeks?

A. On the vender protal, work is assigned
near the low cost assignment and, initially, work was
being offered seven days out in advance. We

increased that to 14 days in advance.

Q. Okay. So have you ever increased it to
30?

A. No.

Q. So the limit is a vender can go out 14

days to create a schedule for itself, correct?

A. The vender can go out 14 days to see if
there's work being offered to him based off the
business. And that's three days out. It doesn't

include same day trip or next day trip.

Q. What's three days out?
A. The vender portal, Trip assignment is
three days out. It doesn't include -- for example,

 

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it doesn't include today's work or work for tomorrow.

Q. I understand that.
A. Yes.
Q. Now -- so can you explain to me are you

familiar with the employees that MART instructed me

to no longer let them work with MART clients?

A. We keep a list here, yes.

Q. You say you keep a list?

A. If we removed somebody from working on
the contract, we keep that information here, yes. Do

I know off the top of my head, no.

Q. Okay. So is it fair to say if MART had
me remove an individual, a driver, that that
individual couldn't drive for a number of years
contracting with MART?

A. If an individual has been permanently
removed from working on the MART contract, yes. If
they were to work for another vender, we would not
let them come onboard.

Q. So it's a fact that you're telling me
that if MART removed one of my drivers, CCRD drivers,
Commonwealth, the vender, that driver couldn't go
work for another vender, correct?

A. It would depend on the actual removal.

 

 

 

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1 At times we remove drivers pending a retraining or
2 pending investigation, things of that nature; but if
3 it's a permanent removal from working on the MART

4 contract, then they would not be able to go work for

5 another.
6 Q. Question. Answers. So MART has the
7 power to hire -- I mean, to fire, disengage our
8 employees, drivers, correct?
9 A. No.
10 Q. Does MART have the authority to fire the

11 employees that drive MART's clients?

12 A. No, we are not the hiring agency or the
13 firing agency. We have the right to remove them from
14 working on our contract.

15 Q. What is the definition of removal, with
16 removing or working on your contract; what's that

17 definition?

18 A. It means that they can't transport the

19 clients that are being assigned to the company by

20 MART.

21 Q. Any longer, correct?

22 A. Correct.

23 Q. So that's firing, correct?

24 A. No. We're removing them from our

 

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1 contract. If the vender only works for MART and has
2 no other work to give them, and that's the ultimate

3 thing that happens, that's not us doing that. We're

4 not the hiring or the firing agency. We're just
5 the --
6 Q. So, basically, are you firing them from

7 transporting MART's clients?

8 A. We're removing them from transporting our
9 clientele.
10 Q. What is the definition of removing in the

11 context of this thing?

12 A. It's labelled within your contract that
13 we have the right to remove them from working on

14 transporting our consumers.

15 Q. Rebecca, please answer the question.

16 MS. ECKER: She has answered the

17 question. That's four times now. You can
18 ask it one more time.

19 MR. JONES: I'm not here to fight. This
20 is a deposition; I would like the question

21 answered.

22 MS. BECKER: And she has answered it. But
23 go ahead.

24 MR. JONES: No, she didn't answer.

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1 MS. ECKER: She didn't answer it the way
2 you wanted it answered, that's different. But
3 go ahead.
4 Q. I want to know the definition of removal.
5 A. Taking the individual away from
6 transporting our consumers.
Ui Q. That's it. There you go. Okay. Can you

8 please tell me how your D-S-S program works regarding

9 venders?
10 A. Our, what, program?
11 Q. D-S-S?
12 A. I don't have a DSS program.
13 Q. D-D-S?
14 A. DDS?
15 Q. Yeah.
16 A. Okay.
17 Q. What does D-D-S stand for?
18 A. Department of Developmental Services.
19 Q. Now, you have a transporting program for
20 their clients, correct?
21 A. Correct.
22 Q. How does that program work, as far as

23 venders transporting the clients, what is the

24 requirements of the vender?

 

 

 

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A. The requirements are clearly listed
within the contract. There's a certain -- just like
all of our venders, the drivers are required
drivers -- drivers and/or monitors are required to
have certain training. There's vehicle age
requirements for that program, different insurances
for that program based off the size of the vehicle.
The program-based transportation was actually put out
on an RFR on a five-year bid. So routes were
assigned to venders. They stopped the response to
that RFR, and there's generally not new work going
out for that program on a regular basis.

Q. Okay. Can you tell me the requirements
of the wait time for a driver, MART requirements for
a wait time for a driver when he's picking up a
client from home t o go to an appointment?

A. The contract states they're required to
wait five minutes past the pickup time and then
you're supposed to contact your dispatcher, attempt
to reach the client; and if there's no response, you
can continue on.

Q. So MART -- is it fair to say MART
requires the driver to wait five minutes past the

time?

 

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A. As the schedule pickup time and then the
attempt to contact the client.

Q. Okay. Can you tell me how you're fine
system works when you fine a vender for a no show.

A. If there is a vender no show, it's
actually recorded in the complaint.

Q. So, basically, I just want to touch on
ways that a vender can get fined. So the first
question is, if a client reports that a vender was a
no show and the vender actually showed up and the
vender informed MART that he showed up, would MART
fine the vender and require the vender to submit
proof that he actually showed up?

A. If a client calls and says that a
vender's a no show, you know, depending on what the
sequence that that happened, if it's five minutes
around the pickup time, it depends on when we get a
call, that a complaint will get filed. The vender
will have an opportunity to respond to that
complaint. And sometimes we do ask for additional
proof, GPS records, things of that nature.

Q. So you ask for proof from the driver and
the vender of GPS that shows that he was there?

A. Correct.

 

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1 Q. In order not to get fined?
2 A. Correct.
3 Q. So if the vender or the driver can't
4 produce pictures that he was there, is that a -- will
5 he get fined?
6 A. If in the end the consumer reported the
7 vender a no show and did not make their appointment,
8 and the vender doesn't have anything additional to
9 support the fact that they were there, they could
10 receive a fine, yes.
11 Q. So is it fair to say if the vender
12 doesn't have proof through GPS that he was there,
13 they --
14 A. Could provide a GPS record. They could

15 provide a time stamp photograph. They could provide
16 confirmation that somebody else Lhat may have been in

17 the vehicle at the time.

18 Q. Is this a requirement in the amendments
19 or the contract?

20 A. Well, you're supposed to provide on-time
21 service, and we're following up to a complaint.

22 Q. Is proof of GPS or time stamp picture in
23 the contract or the amendments?

24 A. I'm not a hundred percent sure. I know

 

 

 

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it is in current. I don't know what you're referring
to or...
Q. Any year. Any contract or amendments, is

that in there where a vender has to show proof by GPS
or time stamp picture in order to avoid a fine fora
no show to a client?

A. Again, I'm honestly not a hundred percent
sure how it's worded in there or if it specifies

those particular items.

Q. Okay. Well, I'm not talking about the
wording. Basically, we want to -- I'm talking about
proof. I understand, you know, you're not a -- you

don't remember how the wording is for contracts, but
I'm trying to just nail it down. If in your
amendments or the contract, either year, is that
requirement in there that a vender or a driver has to
produce the GPS verification in order to avoid a
fine?

A. I don't think that it specifies a GPS

verification in order to avoid a fine.

Q. Okay .
A. It's a follow-up to a customer complaint.
Q. Okay. Does your contract or any

amendment, any years state that a vender or a driver

 

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has to produce a time stamp picture in order to avoid
a fine for a no show when a client makes a report?

A. Again, I don't think it specifies any
time stamped picture.

Q. You say you don't think. That means
you're not sure, correct?

A. Correct. I don't have any amendment in
front of me.

Q. Okay. All right. One second. I'm just
looking on my computer for the next questions.

MS. ECKER: Can we just stop the screen
sharing if possible?

MR. JONES: What's the problem?

MS. ECKER: When you screen share, if the
exhibit's still up, I can't see everybody
talking. So if you're not going to use the
exhibit, I would appreciate it if we're not
screen sharing.

MR. JONES: But I might use it because
I'm going through my questions and then I can
reference the part to you.

MS. ECKER: Okay.

Q. Okay. The next question is regarding

next day offers through your IV system -- IVR system.

 

 

 

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1 How does that work?
2 A. Then the next day offers through the IVR?
3 Q. Yes, the next day offers?
4 A. Okay. So the next day are being
5 handled -- they start off being handled by our IVR
6 system, which is a callout system, which starts at
7 6:30 in the morning. It works very similar to the
8 vender portal as far as low cost assignment; but it's
9 actually physically calling the vender.
10 Q. Okay.
11 A. And it will call the vender up to three
12 times. They have an opportunity to decline doing it
13 right then if they don't -- if they're in the middle

14 of something, it will call them up to three times
15 before it moves on. And the system reads the trip

16 information to the vender, and they have the ability

17 to accept or decline the client trip being offered.
18 Q. What was the procedure to stop the

19 callout system from calling venders and drivers?
20 A. You would have to notify the contract

21 department.

22 Q. Can you go in and just mark your portal
23 full?
24 A. If you mark your portal full for the day,

 

 

 

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yeah, it would stop calling.
Q. It would stop calling?
A. Yes.
Q. Would it stop offering you work also
through the vender portal?
A. The vender portal wouldn't be processing

any work for the next day. The vender portal is
three days, same day and next day is going -- same
day is going out by the live scheduling agent. And
the next day is going out by the IVR callout as well
as live scheduling.

Q. But my question is, if a vender or driver
marks his portal full to avoid the phone calls coming
in, will that also trigger the vender portal from
offering any work, next day, week out, 14 days out?

A. No. If a company marks themselves as
full for a particular day, it will stop offering work
for that particular day.

Q. Okay. Thank you. Commonwealth Community
Recovery Division, I'm just going to call them CCD --
CCRD for short, okay, for the record. We had some
problems in the past with work being placed in our
portals. Do you recall that?

A. Yes, I do remember that there were a

 

 

 

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couple of incidents, yes.

Q. Yes.
A. I don't recall specifics.
Q. Right. But you do recall that we had

unauthorized work that we didn't accept put into your
portal, correct?

A. I remember you having complaint as such,
yes.

Q. Okay. Do you ever remember when MART
corrected it and acknowledged that we didn't accept
the work?

A. I know that there was a group that I
researched for you, and there were -- they had been
accepted by your IP as your log-in.

Q. So the question again, do you recall any
work that after research you found that we did not
accept that was putting out?

A. I don't recall, no.

Q. Okay. I have a question on insurance
policy for venders working with MART. What is the
requirements of Massachusetts, not MART,
requirements; is it 20, slash, 40?

A. Based off the vehicle size, yes, those

are the state requirements.

 

 

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1 Q. Okay. Does MART follow the state
2 requirements or they require more?
3 A. At one point it was the state minimum for
4 the MassHealth Demand Response as a higher level for
5 the program base. But that insurance requirement was
6 changed a couple of years ago where we required more.
7 Q. Okay. So is it safe to say that MART
8 requires more insurance requirements than the state
9 requirements as of 2020?
10 A. Than the state minimum, yes, absolutely.
11 Q. Okay. Does MART require more insurance
12 coverage than the state requires for 2019?
LS A. I believe, yes.
14 Q. Does MART require -- strike that.
15 Did MART require more insurance coverage
16 than the state required for 2018?
17 A. I'm honestly not a hundred percent sure.
18 I don't remember which contract we increased that in.
19 Q. Is it a fact that when a vender accepts a
20 trip from MART for a specific time, MART doesn't
21 change the time unless you ask the vender, who rather
22 than -- if you don't understand the question, I'll
23 rephrase it.
24 A. Please rephrase it because I'm not a

 

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1 hundred percent sure.
2 Q. Okay. Is it a fact that once a vender
3 accepts a trip from MART for a specific pickup time,
4 like 8 a.m., does MART have to get authorization from

5 the vender to say if they wanted to change the pickup
6 to 5:30 a.m.?
t A. They would -- normally, any changes that
8 made highlight to the venders through the vender
9 portal in a different color; so it would really
10 depend on how far out that trip is. If the trip is
11 for the next day, or same say, they will call the
12 vender.
13 Q. So MART has to -- so is it safe to say
14 that MART has the authority to change the pickup time
15 or the return time without the vender's

16 acknowledgment?

17 A. Only for advanced trips.

18 Q. So is it a fact that MART can change the
19 times without authorization of the vender?

20 A. Yeah, in advance you have the ability to
21 see that change and notify that you can no longer

22 accommodate. If it happens for the next day or same

23 day, they would call you immediately.

24 Q. So, basically, I'm trying to get an

 

 

 

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1 answer here. Does MART have the authority to change
2 the pickup time or the drop-off time that the vender
3 agreed to do, whether it's a day or two or a week or

4 two weeks out, do they have the authority to change

5 the schedule of the vender without authorization from
6 the vender, yes or no?

7 A. It's not a matter of authority. It would
8 be a consumer calling and changing their time.

9 Q. Once the consumer calls and change the

10 time, does MART have the authority to change the time

Hil without seeing if the vender is available?

12 A. I think I answered that. That's posed to
13 you, if it's in advance and if you can't accommodate,
14 you can decline it. If it's same day or next day,

15 they will call you and see if you can accommodate the
16 change that was made by the customer.

17 Q. The issue I'm trying to get at is not if

18 it's a day or the two days or 7 days or 14 days out.
19 Does MART have the authority to change a vender's

20 schedule?

21 MS. ECKER: Objection. Asked and

22 answered. You can answer again.

23 A. We're not changing the vender schedule.
24 We're changing the customer's schedule. And the

 

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protocol would be you would see the change in the
vender portal in a different color, if it was
advanced trip, signalling to you that there has been
a change. If you can't accommodate that change, you
let us know and we reassign the trip. If the change
happens the same day or the next day, they will call
and ask the vender if he is able to accommodate the
change.

Q. Okay. Can you please do me a favor and
just answer the question; and if you don't understand
the question, ask me to rephrase it or -- because --

A. I understand your question, Mr. Jones.
But my response is not going to change, because it's
not that we have the authority; we are changing the
trip based off the customer's request. If the trip
is already assigned to a vender in the same day or
next day, we immediately call the vender to see if he
can meet those accommodations. If it is in advance,
you'll see the change in a different color in your
portal and can decline to continue with that trip for
the future.

Q. So it's safe to say you do contact the
vender to see if he's available?

A. If it is for the same day or next day.

 

 

 

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il Q. So if it's 7 or 14 days out, you don't

2 call the vender?

3 A. No, because you will see the change in

4 the portal for that trip. And if you can't

5 accommodate that change, you have the right to turn

6 it back.

7 Q. Okay. Without -- if we turn it back,

8 will we receive a fine?

9 A. If there was a change made to it? No.
10 Q. Yes.
11 MR. JONES: Okay. It's 11:41. Can we
12 take a break to -~- lunch break till about 12 --
13 what would be the proper time, Ellen, or
14 Attorney Ecker?
15 MS. ECKER: How much longer do you think
16 you have, Mr. Jones?
17 MR. JONES: I have no idea. I'm going
18 through my list.
19 MR. ECKER: Well, are we talking the
20 entire afternoon. I'm just trying to get a
21 sense of...
22 MR. JONES: I have no idea. I have a
23 list. I'm about halfway through it, so if we
24 can just keep moving things along. We should

 

 

 

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be out of here in a few hours. How long do you
guys need for a lunch break?

MS. ECKER: I don't need one. How about
if we do 12:15 -- we'll be back at 12:15, if
that's all right with the stenographer? I can
go through.

MR. JONES: Let's take a break until
12:15. Okay?

MS. ECKER: Yes.

MR. JONES: Thank you.

(Break at 11:43 p.m.)

(Back on at 12:17 p.m.)

Q. I would like to share a document that I

would like to mark for exhibit --

MR. JONES: We already did Exhibit 3,
Ellen, correct?

THE STENOGRAPHER: Yes. You were going
to send that one to me.

MR. JONES: Yeah, I'm going to send it to
you. But I want to mark exhibit -- so the last
exhibit was 3, right?

THE STENOGRAPHER: Yes.

 

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1 MR. JONES: So I have a document that I
2 would like to share and ask a question on. I'm
3 going to send this one. This is Exhibit 4.
4 Wrong one. Wrong one. I'm not seeing the
5 files here. All right. This is -- Ellen, this
6 is going to be marked as Exhibit 4. This is
7 an e-mail that I received from Rebecca.
8 Q. And the question for this, do you see the
9 e-mail, Rebecca?
10 A. Yes.
11 Q. Okay. Now, earlier, I asked you about do
12 you recall any trips getting placed in the portal
13 without authorization, and you said. I don't
14 remember what you said, but I'm going to ask the
15 question again. Is there -- do you recall any trips

16 being placed in a portal without our authorization?

17 A. My answer earlier was that I did not

18 recall any specifics but here in the e-mail, upon

19 investigation, it says that I found one.

20 Q. So this e-mail can you please read a part

21 that that's highlighted. Well, first of all, can you
22 read the top, where it's from to who and a date?
23 A. It's from myself to you on September 19,

24 at 9:25 a.m.

 

 

 

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Q. Okay. And can you read the highlighted
part of the e-mail?

A. It says, "Paul, our follow-up
investigation has been completed and it has been
found that this trip was placed by staff into your
portal at 10:34 on 9/17/19 without required vender
confirmation. Appropriate actions have been taken
with the staff person.”

Q. Is this a normal occurrence with staff
putting trips into the vender's portals without
requirement of confirmation?

A. Not that I found, no.

Q. Do you recall this happened to me several
times, maybe -- you sent an e-mail like this several
times before?

A. No, I do not recall.

Q. Okay. So it's a fact that, -- isn't ita
fact that on September 17, 2009 this was placed in
the vender portal without vender confirmation?

A. It says it was found, that this trip was
placed by staff into the portal.

Q. Okay. Let's try this again. Isn't ita
fact that this e-mail confirms that a trip, some

trips were placed in the vender portal without my

 

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1 confirmation or CCRD's confirmation?

2 A. Yes, that's what this e-mail states.

3 Q. And it says "the appropriate action has

4 been taken with the staff person." What type of

5 action was taken with the staff you found out that

6 they had placed trips in the portal that the vender

7 did not confirm?

8 MS. ECKER: I'm going to object to that

9 question, and I'm going to instruct her not to
10 answer. Not only is it beyond the areas of
11 inquiry by the court order, but it's also
12 confidential personnel information.
13 MR. JONES: How is it confidential
14 information and it says right here "appropriate
15 action." I want to know what the objection is?
16 MS. ECKER: Right. That means it's
17 confidential. The action that has been taken
18 was a personnel action against the employee and
19 that is confidential. It doesn't relate in
20 addition to the issues that we're here to
21 discuss today.
22 MR. JONES: We're here to discuss
23 control. This points out control that one of
24 her staff was controlling us by putting back in

 

 

 

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1 our portal without our authorization. It's a

2 control issue.

3 MS. ECKER: Well, I disagree with your

4 characterization. But regardless of the

5 characterization, any discipline given to a

6 MART employee does not relate to whether you

7 are a MART employee or control and is

8 confidential.

9 MR. JONES: Okay. That's on the record.
10 Q. Again, Rebecca. It's a fact that MART
11 added work to the vender without confirmation?

12 A. It's a fact that an employee added this
13 trip without confirmation.

14 Q. Okay. That's fine. Now, does MART

15 require a high level of skills for drivers or

16 venders. Do they need like a college degree to be a
17 driver or a vender?

18 A. We don't -- there are certain

19 requirements for training and.

20 Q. No, that wasn't the question. The

21 question is, I'm going to state it. Does MART

22 require a college degree for a vender to be a vender
23 with MART?

24 A. No, there's no such requirement in place.

 

 

 

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1 Q. Okay. Does MART require a college

2 degree, high school diploma for any driver to drive

3 for MART?

4 A. They're not driving for MART. We're not

5 the hiring authority. They're driving for CCRD.

6 Those requirements would come from you.

7 Q. Do MART require any of CCRD drivers to

8 have a high school diploma or a college degree to

9 drive their clients?
10 A. That is not defined in the specs, no.
11 Q. So that's a no?
12 A. That is not defined in the specs that are
rs required of the vender.
14 Q. Is that a yes or a no?
Is A. That's a no. It's not required in the
16 specs of your contract.
yj QO. Okay. All right. What time does your
18 IVR system start calling venders and drivers for next
19 day trips each day?
20 A. I believe I answered that earlier, it's
21 6:30 in the morning it starts.
22 Q. So you start at 6:30 in the morning. Did
23 you ever start later than that?
24 A. It only starts a little bit later other

 

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il than that on a date that rates might be being applied
2 or if there was an issue with the system.

3 Q. Suppose a vender opens a little later, is
4 not open at 6:30, does the call still come through?

5 A. If they're signed up to get work through
6 the IVR, yes, it does.

7 Q. If a vender opens at 7, does the call

8 still start at 6:30?

9 A. Yes.
10 Q. And up to what time do the calls stop for
11 the IRV system -- IVR system for next day calls?
12 A. That can vary. Because it's working on
13 next day work. So as soon as all the work is

14 completed it stops.

15 Q. Is it fair to say that a vender or driver
16 can receive a call at 6 p.m. at night?
ih yj A. They could if there was a high volume of

18 work for the next day, yes.

19 Q. I'm going to ask that question, please
20 just answer the question.

21 MS. ECKER: I'm going to object. You

22 keep saying "I'm going to ask it again, please
23 answer the question." She's answered the

24 question.

 

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il, MR. JONES: She's adding comments.
2 MS. ECKER: Mr. Jones, she's answering
3 your questions. She's actually been very
4 patient. But go ahead you can answer it again.
5 MR. JONES: She is adding comments. I'm
6 asking a simple question and she's adding
7 comments.
8 Q. Can your IVR system call at 6 p.m. at
9 night, yes or no?
10 A. Yes.
11 Q. Can your IVR system call at 7 p.m. at
12 night, yes or no?
13 A. Yes.
14 Q. Can your IVR system even call after a
15 vender is closed?
16 A. Yes, it could.
17 Q. Okay. Here we go. Make this real short
18 and sweet. MART is in the business of
19 transportation, correct?
20 A. Correct.
21 Q. How long has MART been in business with
22 transportation approximately?
23 A. For the service that you're doing?
24 Q. Montachusetts Regional Transit Authority,

 

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1 period, how long have they been in the business of

2 transportation, 10, 20, 30? It doesn't have to be

3 exact.

4 A. 50 years probably.

5 Q. Did you say 50, Rebecca?

6 A. Oh, yeah.

7 Q. So it's a fact that MART has been in the

8 transportation business for 50 years?

9 A. Since it's inception, yes.
10 Q. Okay. So it's a fact that MART has been
11 in the transportation business for at least 50 years?
12 A. Yes.
13 Q. Okay. So seeing that MART's IVR system
14 calls venders and drivers daily, this is a continuing

15 thing Monday through Friday on a daily basis,

16 correct?

i A. Correct.

18 Q. Okay. So, basically, every day MART is
19 calling -- strike that.

20 So MART -- strike that.

21 MART has a continuing relationship with
22 the drivers and the vender?

23 A. I'm not understanding your question.

24 Q. I'm just saying that, you know, the

 

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1 question is, MART has relationship on an ongoing
2 basis with the vender, meaning that the vender just

3 doesn't get in touch with MART and get all this work.

4 This is a continuing relationship between MART and
5 the venders and the drivers on a daily basis?

6 MS. ECKER: Objection.

Wi A. It's a relationship with MART and the

8 vender.

9 Q. Okay.
10 A. On a daily basis.
L1 QO. Thank you. How often is the vender paid

12 through MART, is it to be paid hourly, weekly,

13 monthly, biweekly?

14 A. The service that your company provided
15 was for the MassHealth PT One Demand Response, which
16 is a 15-day billing cycle. The first or the 15th of
17 the month is the first cycle. The 15th should be end
18 of the month, is the next cycle and then there's

19 payable for the contractual obligation; they're paid
20 within 45 days following an improved invoice.

21 Q. So, basically, the work that the vender,
22 CCRD, and their employees perform is part of MART's
23 everyday business?

24 MS. ECKER: Objection.

 

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MR. JONES: On what grounds?
MS. ECKER: Form of the question. But
she can answer. I didn't instruct her not to

answer.
MR. JONES: You instructed her not to
answer that?
MS. ECKER: She can answer the question.

I'm just objecting for the record.

A. So repeat your question, Paul.

Q. So the work that CCRD and I do isa
regular part of MART's business?

MS. ECKER: Objection.

A. Correct.

Q. One second. I want to ask a question on
one more report that is required from MART. It's an
employee report -- driver's report. Strike that.
I'm going to ask a question on a report that is also
from the venders to MART that MART requested. Can
you explain the employee report?

A. I am not sure what you're talking about.
You'll have to give me an example of what you're
referring to.

Q. No problem. The drivers report, you

know, when you send over the drivers hire date, drug

 

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screens that's required?
A. When you're adding a new driver?
Q. Yes.
A. Okay.
Q. Can you explain that report in detail?
A We don't label it as a report. There's

specific things that are required within the contract
prior to you, as a vender, putting the driver in
contact with the agency consumers that are under the
contract. So you have to send a updated RMV report,
the date that you ran the CORI. You have to ata
minimum have a fingerprint receipt, and the required
training and confirmation of the result of the test
for the preemployment.

Q. Is that before we can -- the employee,
the driver, can actually start driving with MART
required to send to you guys?

A. You're supposed to update your vehicle
log as you hire so we verify that they have all the
requirements.

Q. What type -- what is the name of this
document? You said it's not a report. What do you
name it?

A. It's not a report. It's contractual

 

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tl requirements.
2 Q. Is it an employee log? What's the name
3 of it? I'm going to put a name on it.
4 A. It's not a report. We house the backup
5 information here in a database, but it's not -- we
6 don't require that you submit a report. We require
7 that you submit particular items that are clearly
8 defined within your contract.
9 Q. Well, is it called an employee log, yes
10 or no?
11 A. We keep a record here. We don't call it
12 anything. It's in your database.
13 Q. So it's not called an employee log,
14 correct?
15 A. In the contract it's your employee log
16 that you update.
17 Q. Okay. Rebecca, I'm trying to get a name
18 of this. I have e-mails that says send over employee
19 log, and it says that an employee log is attached to
20 it. So I'm trying to understand, because you're
21 the --
22 A. Within the contract, Paul, it's your
23 company's updated employee log that they're
24 referring.

 

 

 

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1 Q. I don't care -- the question's not whose

2 it is. The question is the name of it, because I

3 just want to write it down for, you know, exhibit

4 purposes and things like that.

5 A. In your contract it is referred to as

6 your employee log.

7 Q. So employee log is the name, correct?

8 A. Yeah.

9 Q. Okay. When is this required to be sent
10 to MART?
11 A. Your contract clearly defines that you're
12 supposed to submit it when you make changes to it.
13 Q. So is it a fact that before we hire an
14 employee -- a driver -- I'm sorry, strike that.
15 Is it a fact that before we hire a
16 driver, we have to submit all these documents like an
17 RMV-1 and whatever else is required to MART for
18 approval?
19 A. You can -- you're required to perform all
20 those items before you put the individual in contact
21 with our consumers.
22 Q. Okay. Does MART have to approve it if
23 the driver is approved?
24 A. When you send us your updates, we look at

 

 

 

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il all that documentation and say that they meet

2 guidelines; if they don't meet guidelines, then we

3 tell you you have to remove them, that they can't

4 transport MART's members.

5 Q. So MART has the authority -- strike that.

6 So we have to go to an approval process

7 with MART before we hire a driver and let them come

8 in contact with MART's employees; is that clear?
9 A. You don't have to seek our approval to
10 hire your employees. You're supposed follow all

11 those things that are identified in the contract

12 prior to putting them in contact with agency

13 consumers.
14 Q. Do you have to receive all your
15 credentialing before we put them in contact with

16 MART's consumers?

17 A. Not necessarily. If you've done what's
18 required of your contract; when you send it, we're
19 going to verify it.

20 Q. So is that a yes or no?

21L A. We don't have to approve that. You are
22 the hiring authority.

23 Q. Do you -- do MART have to approve --

24 strike that?

 

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1 I'm trying to ask you if -- it's just a
2 simple straightforward question. Do Commonwealth
3 Community Recovery Division have to get approval from

4 MART before we let a driver come in contact with a

5 consumer, yes or no?

6 A. No. CCRD has to follow their contract
7 and have all those items in place prior to putting
8 the individual into service.

9 Q. Okay. A few more questions here. Is a

10 GPS system required to transport MART clients?

11 A. It's in the current contract.

12 Q. Is it required?

13 A. I think I answered that earlier saying I
14 don't think it was in there as a requirement.

15 Q. No, we were -- what we were just talking

16 about earlier with the GPS was regarding
17 cancellations and things like that, if there was a
18 requirement for a cancellation. Now I'm asking is

19 there a requirement to transport MART's clients?

20 A. There currently is.

21 Q. As of?

22 A. It's in the new contract.
23 Q. For 2021?

24 A. 2022.

 

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il Q. 2022?
2 A. Yeah.
3 Q. So it's in there. Okay.
4 A. Yes. And I believe in '19 or '20 we were

5 launching our driver app, so you would have to have a

6 GPS-enabled phone.

Th Q. On your driver's app, was that a
8 requirement that every driver use?
9 A. We were just launching it so we were

10 putting it in place.

11 Q. When did it launch?

12 A. We started launching it last year.

13 Q. So now is it a requirement for all

14 drivers to have?

15 A. FY22.

16 Q. That's great, save venders a lot of

17 money. I got a few more questions, and we can wrap

18 this thing up.

19 MR. JONES: So, now, Ellen what we need
20 to do is put up -- I'm going to send you

21 Exhibit 3 and 4; I made a note of that. And so
22 basically I just want to put up Exhibit 2 --

23 I'm sorry. Hold on one second. Exhibit 1, the
24 interrogatories, I have a question on that.

 

 

 

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1 Interrogatories and admissions is on Exhibit 2.
2 So we can get rid of Exhibit 1, Ellen, and go
3 to Exhibit 2 so I can ask these final
4 questions. Exhibit 2, everyone sees it?
5 MS. ECKER: Yes.
6 A. Yes.
7 Q. Okay. This document is, Exhibit 2 it has
8 the answers that were sent from the defendant to me,
9 the interrogatories, admissions and -- this has the
10 interrogatories and admissions. So I have a few
11 questions. Have you ever seen this document before,
12 Rebecca?
13 A. Yes, I have.
14 Q. Okay. See my mouse?
15 A. Yes.
16 Q. Can you just read what it is, the title
17 of this document?
18 A. "Defendant ANSWERS to Plaintiff's First
19 Set of Interrogatories."
20 Q. Okay. Who answered these?
21 A. Myself.
22 Q. Okay. Can you read Interrogatory No. 2,
23 please.
24 A. "Please explain why after plaintiff

 

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1 contacted Rebecca Badgley, Michelle Moyo and others,
2 that he was unable to edit the CCRD capacity tabs and
3 was denied access to do so and was told that MART
4 does not give the vender ability to change they
5 capacity, that is something that only MART has access
6 to. With regards to standing orders, you will need
7 to contact the scheduling department. Thank you,"
8 which was "cc" to the brokeragecontract@mrta.us, and
9 which was seen by over 15 MART employees."
10 Q. Okay. That was the question that I

il asked. When did you answer these? I'm going to go

12 down to the date -- strike that.

13 It said you answered this on April 28,
14 2020 -- no, nope. I'm sorry.

15 A. No, it says that I answered it on May
16 25th.

17 Q. Nope. May 25th?

18 A. That's when I physically signed my name.
19 Q. Yes. So what was the date you answered
20 these on?

21 A. May 25th.

22 Q. Okay. Now, earlier, I asked you about

23 the capacity tab, and you said, oh, it was changed

24 two years ago where venders or employees of venders

 

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couldn't change it, only MART could, right?

A. A year and a half, two years ago, yes.

Q. Are you sure?

A. I'm pretty sure, yes.

Q. Okay. Are you sure, yes or no?

A I don't recall the exact date. It was
approximately two years ago.

Q. Approximately two years ago?

A. Yes.

Q. Are you sure that you electronically
Signed these on May 25, 2021?

A. Yes.

Q. And you answered them as well, correct?

A. Correct.

Q. Let's go back to No. 2 for the answer.
Can you read the answer, please, No. 2.

A. "Defendant objects to the interrogatory
to the extent that it does not contain the entire
e-mail referenced, which is a document that speaks
for itself, and was not attached to the plaintiff
first set of interrogatories to the defendant.

"Without waiving this or any other
objections, the defendant responds to the
interrogatory as follows: MART's venders are able to

 

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1 A. Correct.

2 Q. Okay. So now I want to ask -- we're

3 going to go down to the admissions. Are you familiar
4 with this document, Rebecca?

5 A. Yes.

6 Q. Can you read Request 1, please. Let me

7 make it a little bit bigger.

8 A. No, that's fine. I can see it. "Admit

9 that MART coordinates the time of pickup and drop-off

10 and return of all their clients that calls MART

11 directly for transportation services through their

12 transportation brokerage program for trips that are
13 assigned to transportation venders."

14 Q. And the response, please.

15 A. "Admitted."

16 Q. Okay. Request No. 2, can you read it,

17 please?

18 A. "Admit that that capacity tab controls
19 the time a vender is operating hours displayed to
20 MART in the amount of jobs and money a vender can
21 schedule and earn with MART's transportation

22 program."

23 Q. Answer?

24 A. "Denied."

 

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1 make changes to their capacity manager to reflect
2 time and days of the week they are willing to accept

3 work by visiting the vender portal and editing the

4 capacity management tab. The venders are not able to
5 change the actual capacity figure in the vender

6 portal software system."

7 Q. Okay. So according to this answer, MART

8 venders are able to make changes to their capacity

9 tab?
10 A. Manage it --
11 Q. To reflect times and days of the week?
12 A. Yes.
13 Q. Correct?
14 A. Yes.
15 Q. Didn't earlier you tell me we weren't

16 able to change the capacity tab to reflect --
ny A. It says you weren't able to change your
18 capacity for the amount of work, that is specific to

19 the dates and times of the week that you're --

20 Q. Why don't you strike that and I'll do it
21 over that way -- so it's a fact that MART venders
22 are able to make changes to their capacity manager to

23 reflect the times and dates of the week they are

24 available, correct?

 

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1 Q. The response, please?
2 A. It says "denied."
3 Q. Now, can you please tell me why this was
4 denied?
5 A. Well, ultimately, you choose. We offer
6 you work and you choose whether you're going to
7 accept or decline.
8 Q. I'm referencing a question. "Admit that

9 the capacity tab controls the time," stop. Does the

10 capacity tab controls the time?

11 MS. DECKER: I'm going to object if

12 you're asking her only a portion because

13 you're —- it doesn't have a period after that.
14 You asked her about the entire request for

15 admissions. If you're asking all of the

16 request, that's fine.

17 MR. JONES: No problem.

18 Q. "Admit that the capacity tab controls the

19 time a vender operating hours displays to MART."

20 Rebecca?

21 A. The capacity tab contains your hours of
22 service.

23 Q. I'm taking this question all the way up
24 to "and." So, basically, I'm trying to get an

 

 

 

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il understanding here. Is this correct or isn't

2 correct? You denied it so...

3 MS. ECKER: She denied the entire

4 paragraph, that was my objection. If you want

5 to ask her a question that's not specifically

6 this request, you can do that, but she denied

7 the entire request.

8 MR. JONES: Okay.

9 Q. So can you read it one more time, please?
10 A. "Admit that the capacity tab controls the
11 time a vender operating hours displays to MART and
12 the amount of jobs and money a vender can schedule
13 and earn with MART's transportation program."

14 Q. And the response was denied --

15 A. Correct.

16 Q. -- correct? In your own words, tell me
iy what the capacity tab controls?

18 A. So the capacity tab shows the hours that
19 you're operating --

20 Q. No. What it controls. Please --

21 MS. ECKER: She just answered your

22 question. Let her finish.

23 MR. JONES: Please, Ms. Ecker, you don't
24 have to be disrespectful. But can we please be

 

 

 

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cordial.

MS. ECKER: I'm just saying you asked a
question. Please let her finish her answer.

MR. JONES: But it's the manner in which
you're saying it. Can we just be cordial here,
please.

MR. ECKER: We are being cordial. I'm
not trying to talk over you. But you asked a
question, please let her answer it.

MR. JONES: Thank you. That's much

better.

Q. So I'm going to ask you the question
again.

A. It displays the times that your company

operates and what your capacities are; but,
ultimately, you, as a vender, control what you accept
or decline from what's being offered to you.

Q. Can you repeat that?

A. I said the capacity tab shows what your
hours of operation are and what your capacity is, but
you, as the transportation provider, control what you
accept or decline.

Q. Okay. You said -- my question was, what

does the capacity tab control? You answered the

 

 

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question that says what the capacity tab shows, shows
and control are two different things. I want to know
what the capacity tab controls not what the capacity
tab shows. So, please, the question again is, in
your own words, what does the capacity tab control?
MS. ECKER: Objection. You can answer,
if you can.

A. Companies are provided a volume of work
based off their capacity; that's the only thing that
it controls, is the volume of work that is assigned.

Q. Okay.

A. You control what you accept or decline in
what you do.

Q. Okay. You just said that the capacity
tab controls the volume of work; is that correct?

A. Being offered. If you as a company,

Mr. Jones, can only handle a hundred trips per day --

Q. That's not the question that I asked,
Rebecca?

A. You're asking --

Q. I did not ask that question.

MS. ECKER: Mr. Jones, let her finish.
MR. JONES: No, it's -- I'm not

because --

 

 

 

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il MS. ECKER: Let her finish. Mr. Jones,
2 let her finish.
3 MR. JONES: I did not ask that question.
4 MS. ECKER: Mr. Jones, let her finish.
5 MR. JONES: My question is, what does the
6 capacity tab control, and she said a volume of
7 work being offered. And -- is that correct?
8 MS. ECKER: And she didn't finish her
9 answer. So, for the record, please have her
10 finish her answer to you. Go ahead, Rebecca.
11 A. It is not going to offer the vender over
12 what their capacity is for the day.
13 Q. That's not my question. Listen, my
14 question is, what does the capacity tab control?
15 A. The capacity that you, as a company, and
16 your fleet size can handle in the course of a day.
17 Q. Okay. Thank you. Now, what does the
18 capacity tab show?
19 MS. ECKER: Objection.
20 A. I already answered that, the hours --
21 operating hours and capacity.
22 Q. Okay. Question answered. All right.
23 Read number 3 for me.
24 A. "Admit that MART employees sent an e-mail

 

 

 

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in 2017 stating all venders must create and submit a
log to MART on a monthly basis at the end of the
month, odometer reading, updated vehicle inventory,
total vehicle hours and hours that the vehicle is on
the road in service to MART for the month. Example,
time driver leaves garage to begin work until break
and time back in service until next break. Vehicle
accident miles, the odometer reading of the vehicle
at the time of an accident, report dead head miles
for wheelchair van, reporting of mileage from start
to first pick-up and from last drop-off to garage at
the end of the day unless there is a significant
break, then would need same after break.

Percentage of fully allocated expenses in

service to MART broken down by the following

categories. 1. Vehicle operations, driver salary,
dispatcher salary, fuel. 2. Vehicle maintenance,
oil changes, tires, mechanic salary. 3. NonVehicle

Maintenance, janitor salary, utility bills, cleaning
supplies. 4. General administration, office staff
salaries, profits, admin overhead, "f," fuel cost,
total cost of fuel for the month, "g" gallons of
fuel, total number of gallons of fuel purchased, "h,"

miles per gallon, average number of miles that a

 

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vehicle travelled on one gallon of fuel for each

vehicle used for brokerage contract."

Q. And the question was -- what was her
response?
A. "Admitted that MART request brokers

provide MART the information set forth above. Denied
that the above is a complete and accurate recitation
of an e-mail sent by a MART employee in 2017, which
e-mail is a document that speaks for itself and was
not attached to Plaintiff's Request for Admissions."

Q. Okay. Would you admit that Request No. 3
is in your 2019 amendments not contract?

A. Yes.

Q. So for the record you admit that Question
No. 3 is in your 2019 amendments, just to be clear?

A. Yes, it was in the 2019 amendment.

Q. Okay. Do you admit this is a requirement
for MART venders and their drivers in the 2019
amendments?

A. Yes, it was in the amendment. But I
believe I indicated earlier that we didn't require
it. We didn't force venders to submit.

Q. Hold on. So you're saying that the

governing document in 2019 had this in it, but it

 

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wasn't a requirement?

A. We did not force the venders to submit
it, that is correct.

Q. The question is, is it a requirement?

A. It was in the amendment. I've answered
the question. My response is not going to change.
It is in the amendment.

Q. It is a requirement in the 2019
amendments, yes or no?

A. It was in the additional provider
performance standard under required reporting. But
we did not request the venders to submit nor force
them to.

Q. Rebecca, this is a very simple question.

MS. ECKER: And she's answered the
question.

MR. JONES: No, she didn't.

MS. ECKER: Mr. Jones, she's going -~-

MR. JONES: She --

MS. ECKER: Mr. Jones, let me finish for
the record so the stenographer doesn't have us
talking over one another. You repeatedly do
this. You ask the question. She answers the

question. For whatever reason, you don't like

 

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the answer; you ask again and we go back and

forth. I will let you ask it one more time

before I --

MR. JONES: This is a yes or a no
question.

MS. ECKER: But it's not. And I think
that's what you're not understanding. Just
because you say it is a yes or no question,
doesn't mean the witness has to answer yes or
no, so that's your interpretation. But it's
not necessarily a yes or no answer every time
you ask a question. But go ahead, ask again.
Q. Rebecca, is No. 3 that you just read with

all these requirements in the 2019 MART amendments?

A. Yes, it is in there but we did not
require it to be submitted.

Q. Thank you. We're going go to No. 5. Can
you read that please, Request No. 5?

A. "Admit that the skills required to
participate in MART's transportation program as a
transportation provider does not require a degree in
a particular skill the constitute a regular and
essential part of MART's business operations."

Q. Okay. Earlier, you said that MART was in

 

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the transportation business, correct?
A. Correct.
Q. For approximately 50 years, correct?
A. MART, a regional transit authority, yes.
Q. MART is -- you said MART has been in the

business for approximately 50 years, correct?

A. Correct.

Q. And you also earlier stated that MART
didn't require a vender to have a degree, high school

diploma or anything like that, correct?

A. Correct.
Q. But, yet, on No. 5 when I asked, "Admit
that MART -- that the skills required to participant

at MART programs, transportation programs as a
transportation venders does not require a degree in a
particular skill and constitute a regular and
essential part of MART's business operations." You
denied No. 5, right?

A. Correct.

Q. Thank you. I got a question. Can you
explain what a standing order is?

A. A standing order is a repeating trip

schedule. So an example of that would be an

individual going three days a week same days, same

 

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times, same appointments, such as dialysis or
something of that nature.

Q. So if I accepted -- if Commonwealth
Community Recovery Division accepted a trip and I was
a driver, say I was the only driver, and I had a
standing order for seven days a week, under your
definition I would have to take that client every day
of that standing order?

A. Correct.

Q. Okay. So isn't it a fact MART requires
vender portal training at least once when you first
start, a vender starts?

A. Yeah. I answered that earlier. We have
them come in for vender portal training before their
work is assigned.

Q. Okay. Can you read No. 8, please?

A. "Admited that MART requires it's vendors
to abide by safety requirements, to have certain
policies of insurance, to meet certain vehicle
requirements and offers other vendor portal and
orientation training."

Q. You didn't finish it.

MS. ECKER: I think she might have.

A. I think I started with the response. I'm

 

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sorry.
Q. Yeah. Can you -- Request No. 8.
A. Request No. 8, "Admit that MART provides

Vendor safety requirements, insurance requirements,
vehicle requirements, CCRD INC employee
requirements, vendor portal, orientation training,
requires a vendor to work every day if they have a
standing order for seven day a week, which is
mandatory for all venders."

Q. And the response please for No. 8 can you
read?

A. "Admitted that MART requires its vendors
to abide by safety requirements, to have certain
policies of insurance, to meet certain vehicle
requirements and offers vendor portal and orientation
training. The remaining allegaLions are denied."

MR. JONES: Ellen, did you get the last
sentence of that because I didn't hear.

THE STENOGRAPHER: She's reading it from
the document, so yeah.

MR. JONES: Can you repeat the last
sentence she said, Ellen.

Q. Can you please read No. 9. I'm sorry.

Let me make a note. No. 9 has Response No. 9 and

 

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Response No. 9. It's supposed to say Request No. 9.
So can you read the top one?

A. "Admit that CCRD or their employees
possess no proprietary interest in their respective
delivery routes that MART assigns and all customers
(clients) belong not to CCRD but to MA."

Q. Okay. Just to make a clarification, "MA"
stands for MART.

A. Okay.

Q. And can you -- did you know that when you

answered this?
A. I assumed that you meant that the
consumers belonged to the State of Mass. and the

agency that they're covered by, so.

Q. Okay. So I can you read the response,
please?
A. "Admitted that CCRD has no proprietary

interest in the trips offered by MART and accepted by
CCRD. The remaining allegations are denied."

Q. Also, basically, I misnumbered these and
the responses so they were -- okay. I already --
strike that. Okay. So that's admitted. We can wrap

it up for the day.

MR. JONES: Ellen, I'm going to send you

 

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1 Exhibits 3 and 4. Thank you very much ladies
2 for your patience with me.

3 THE STENOGRAPHER: Attorney Ecker, would
4 you want a copy of this?

5 MS. ECKER: Yes, please.

6 THE STENOGRAPHER: Exhibits also?

7 MS. ECKER: Yes, please.

9 (Deposition concluded at 1:16 p.m.)
10 (Exhibits 1-4, marked off the record)
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1 CERTIFICATE
2
3 COMMONWEALTH OF MASSACHUSETTS
4 PLYMOUTH, SS.
5 I, Ellen M. Muir, a Shorthand Reporter, do
6 hereby certify:
7 REBECCA BADGLEY, the witness whose testimony is

8 hereinbefore set forth, was duly sworn by me,

9 pursuant to Mass. R. Civ. P. 27, 30, 30A, and 31, and
10 that such testimony is a true and accurate record of
11 my stenotype notes taken in the foregoing matter, to
12 the best of my knowledge, skill and ability.

ILS I further certify that I am not related to any
14 parties to this action by blood or marriage; and that
15 I am in no way interested in the outcome of this

16 matter.

17 IN WITNESS WHEREOF, I have hereunto set my hand

18 This 5th day of July, 2021.

 

19

20

21 sy

22 sy S77

23 Ellen M. Muir My Commission expires:
24 Notary Public May 8, 2026

 

 

 

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